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                      EXHIBIT A
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                                          U.S. District Court
                             California Northern District (San Francisco)
                           CIVIL DOCKET FOR CASE #: 3:11−cv−00671−SI

Xilinx, Inc. v. Invention Investment Fund I LP et al                 Date Filed: 02/14/2011
Assigned to: Hon. Susan Illston                                      Jury Demand: Plaintiff
Referred to: Magistrate Judge Paul Singh Grewal                      Nature of Suit: 830 Patent
Cause: 28:2201 Injunction                                            Jurisdiction: Federal Question
Plaintiff
Xilinx, Inc.                                           represented by Behrooz Shariati
                                                                      Jones Day
                                                                      1755 Embarcadero Road
                                                                      Palo Alto, CA 94303
                                                                      650−739−3920
                                                                      Fax: 650−739−3900
                                                                      Email: bshariati@jonesday.com
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                     Laurie Michelle Charrington
                                                                     Jones Day
                                                                     Silicon Valley Office
                                                                     1755 Embarcadero Road
                                                                     Palo Alto, CA 94303
                                                                     650−739−3939
                                                                     Fax: 650−739−3900
                                                                     Email: lmcharrington@jonesday.com
                                                                     ATTORNEY TO BE NOTICED


V.
Defendant
Invention Investment Fund I LP                         represented by Ameet A. Modi
                                                                      Desmarais LLP
                                                                      230 Park Avenue
                                                                      New York, NY 10169
                                                                      212−351−3400
                                                                      Email: amodi@desmaraisllp.com
                                                                      PRO HAC VICE
                                                                      ATTORNEY TO BE NOTICED

                                                                     Bradford John Black
                                                                     Black &Chang LLP
                                                                     333 Main Street
                                                                     Suite 2A
                                                                     San Francisco, CA 94105
                                                                     415−369−9423
                                                                     Fax: 415−520−6840
                                                                     Email: bblack@blackandchang.com
                                                                     ATTORNEY TO BE NOTICED
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                                                             Eugene Chiu
                                                             Desmarais LLP
                                                             230 Park Avenue
                                                             New York, NY 10169
                                                             212−351−3400
                                                             Email: echiu@desmaraisllp.com
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Frank Michael Washko
                                                             333 Main Street
                                                             Suite 2A
                                                             San Francisco, CA 94105
                                                             415−545−8040
                                                             Email: fwashko@bwlitigation.com
                                                             TERMINATED: 05/13/2011
                                                             ATTORNEY TO BE NOTICED

                                                             John M. Desmarais
                                                             Desmarais LLP
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                                                             New York, NY 10169
                                                             212−351−3400
                                                             Email: jdesmarais@desmaraisllp.com
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Michael P. Stadnick
                                                             Desmarais LLP
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                                                             New York, NY 10169
                                                             212−351−3400
                                                             Email: mstadnick@desmaraisllp.com
                                                             PRO HAC VICE
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                                                             Peter Hsueh−Kang Chang
                                                             Black &Chang LLP
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                                                             San Francisco, CA 94105
                                                             415−369−9423
                                                             Fax: 415−520−6840
                                                             Email: pchang@blackandchang.com
                                                             ATTORNEY TO BE NOTICED

Defendant
Invention Investment Fund II LLC                represented by Ameet A. Modi
                                                               (See above for address)
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                             Bradford John Black
                                                             (See above for address)
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                                                             ATTORNEY TO BE NOTICED

                                                             Eugene Chiu
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Frank Michael Washko
                                                             (See above for address)
                                                             TERMINATED: 05/13/2011
                                                             ATTORNEY TO BE NOTICED

                                                             John M. Desmarais
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Michael P. Stadnick
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Peter Hsueh−Kang Chang
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Intellectual Ventures, LLC                      represented by Ameet A. Modi
                                                               (See above for address)
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                             Bradford John Black
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Eugene Chiu
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Frank Michael Washko
                                                             (See above for address)
                                                             TERMINATED: 05/13/2011
                                                             ATTORNEY TO BE NOTICED

                                                             John M. Desmarais
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Michael P. Stadnick
                                                             (See above for address)
                                                             PRO HAC VICE
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                                                                                          1675
                                                             ATTORNEY TO BE NOTICED

                                                             Peter Hsueh−Kang Chang
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Intellectual Ventures Management LLC            represented by Ameet A. Modi
                                                               (See above for address)
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                             Bradford John Black
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Eugene Chiu
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Frank Michael Washko
                                                             (See above for address)
                                                             TERMINATED: 05/13/2011
                                                             ATTORNEY TO BE NOTICED

                                                             John M. Desmarais
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Michael P. Stadnick
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Peter Hsueh−Kang Chang
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Intellectual Ventures I LLC                     represented by Ameet A. Modi
                                                               (See above for address)
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                             Bradford John Black
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Eugene Chiu
                                                             (See above for address)
                                                             PRO HAC VICE
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                                                             ATTORNEY TO BE NOTICED

                                                             Frank Michael Washko
                                                             (See above for address)
                                                             TERMINATED: 05/13/2011
                                                             ATTORNEY TO BE NOTICED

                                                             John M. Desmarais
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Michael P. Stadnick
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Peter Hsueh−Kang Chang
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

Defendant
Intellectual Ventures II LLC                    represented by Ameet A. Modi
                                                               (See above for address)
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                             Bradford John Black
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED

                                                             Eugene Chiu
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Frank Michael Washko
                                                             (See above for address)
                                                             TERMINATED: 05/13/2011
                                                             ATTORNEY TO BE NOTICED

                                                             John M. Desmarais
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Michael P. Stadnick
                                                             (See above for address)
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                             Peter Hsueh−Kang Chang
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED
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Date Filed      #    Docket Text

02/14/2011     Ï1    COMPLAINT (with jury demand) against Intellectual Ventures I LLC, Intellectual Ventures II
                     LLC, Intellectual Ventures Management LLC, Intellectual Ventures, LLC, Invention Investment
                     Fund I LP, Invention Investment Fund II LLC (Filing fee $350, receipt number 54611009106).
                     Filed by Xilinx, Inc. (cjl, COURT STAFF) (Filed on 2/14/2011) (Additional attachment(s) added
                     on 3/3/2011: # 1 COMPLAINT part 2, # 2 Civil Cover Sheet) (cjl, COURT STAFF). (Entered:
                     02/17/2011)

02/14/2011     Ï2    Summons Issued as to Intellectual Ventures I LLC. (cjl, COURT STAFF) (Filed on 2/14/2011)
                     (cjl, COURT STAFF). (Entered: 02/17/2011)

02/14/2011     Ï3    Summons Issued as to Intellectual Ventures II LLC. (cjl, COURT STAFF) (Filed on 2/14/2011)
                     (cjl, COURT STAFF). (Entered: 02/17/2011)

02/14/2011     Ï4    Summons Issued as to Intellectual Ventures, LLC. (cjl, COURT STAFF) (Filed on 2/14/2011)
                     (cjl, COURT STAFF). (Entered: 02/17/2011)

02/14/2011     Ï5    Summons Issued as to Intellectual Ventures Management LLC. (cjl, COURT STAFF) (Filed on
                     2/14/2011) (cjl, COURT STAFF). (Entered: 02/17/2011)

02/14/2011     Ï6    Summons Issued as to Invention Investment Fund II LLC. (cjl, COURT STAFF) (Filed on
                     2/14/2011) (cjl, COURT STAFF). (Entered: 02/17/2011)

02/14/2011     Ï7    Summons Issued as to Invention Investment Fund I LP. (cjl, COURT STAFF) (Filed on
                     2/14/2011) (cjl, COURT STAFF). (Entered: 02/17/2011)

02/14/2011     Ï8    ***WRONG STANDING ORDER ATTACHED TO HARD COPY GIVEN AT CASE
                     OPENING, SEE DOCKET #9 FOR AMENDED ORDER***
                     ADR SCHEDULING ORDER: Case Management Statement due by 5/26/2011. Case
                     Management Conference set for 6/2/2011 10:30 AM in Courtroom 4, 3rd Floor, Oakland.
                     (Attachments: # 1 Standing Order)(cjl, COURT STAFF) (Filed on 2/14/2011) Modified on
                     2/17/2011 (cjl, COURT STAFF). (Entered: 02/17/2011)

02/14/2011      Ï    CASE DESIGNATED for Electronic Filing. (cjl, COURT STAFF) (Filed on 2/14/2011)
                     (Entered: 02/17/2011)

02/17/2011     Ï9    AMENDED ADR SCHEDULING ORDER: Case Management Statement due by 5/26/2011.
                     Case Management Conference set for 6/2/2011 10:30 AM in Courtroom 4, 3rd Floor, Oakland.
                     (Attachments: # 1 Standing Order)(cjl, COURT STAFF) (Filed on 2/17/2011) (Entered:
                     02/17/2011)

02/17/2011    Ï 10   REPORT on the filing of an action regarding Patent (cc: form mailed to register). (cjl, COURT
                     STAFF) (Filed on 2/17/2011) (Entered: 02/17/2011)

02/18/2011    Ï 11   SUMMONS Returned Executed by Xilinx, Inc.. Intellectual Ventures I LLC served on 2/17/2011,
                     answer due 3/10/2011. (Shariati, Behrooz) (Filed on 2/18/2011) (Entered: 02/18/2011)

02/18/2011    Ï 12   SUMMONS Returned Executed by Xilinx, Inc.. Intellectual Ventures II LLC served on
                     2/17/2011, answer due 3/10/2011. (Shariati, Behrooz) (Filed on 2/18/2011) (Entered: 02/18/2011)

02/18/2011    Ï 13   SUMMONS Returned Executed by Xilinx, Inc.. Intellectual Ventures, LLC served on 2/17/2011,
                     answer due 3/10/2011. (Shariati, Behrooz) (Filed on 2/18/2011) (Entered: 02/18/2011)

02/18/2011    Ï 14   SUMMONS Returned Executed by Xilinx, Inc.. Invention Investment Fund I LP served on
                     2/17/2011, answer due 3/10/2011. (Shariati, Behrooz) (Filed on 2/18/2011) (Entered: 02/18/2011)
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02/18/2011   Ï 15   SUMMONS Returned Executed by Xilinx, Inc.. Invention Investment Fund II LLC served on
                    2/17/2011, answer due 3/10/2011. (Shariati, Behrooz) (Filed on 2/18/2011) (Entered: 02/18/2011)

02/25/2011   Ï 16   Certificate of Interested Entities by Xilinx, Inc. (Shariati, Behrooz) (Filed on 2/25/2011) (Entered:
                    02/25/2011)

02/28/2011   Ï 17   NOTICE of Appearance by Frank Michael Washko (Washko, Frank) (Filed on 2/28/2011)
                    (Entered: 02/28/2011)

02/28/2011   Ï 18   NOTICE of Appearance by Bradford John Black (Black, Bradford) (Filed on 2/28/2011)
                    (Entered: 02/28/2011)

02/28/2011   Ï 19   STIPULATION and [Proposed] Order for Extenstion of Time to Respond to Complaint by
                    Intellectual Ventures I LLC, Intellectual Ventures II LLC, Intellectual Ventures Management
                    LLC, Intellectual Ventures, LLC, Invention Investment Fund I LP, Invention Investment Fund II
                    LLC, Xilinx, Inc. (Washko, Frank) (Filed on 2/28/2011) Modified on 3/1/2011 (cjl, COURT
                    STAFF). Modified on 3/2/2011 (cjl, COURT STAFF). (Entered: 02/28/2011)

03/01/2011   Ï 20   ORDER GRANTING 19 Stipulation for Extension of Time filed by Intellectual Ventures II LLC,
                    Intellectual Ventures I LLC, Intellectual Ventures, LLC, Xilinx, Inc., Intellectual Ventures
                    Management LLC, Invention Investment Fund I LP, Invention Investment Fund II LLC. Signed
                    by Judge Beeler on 2/28/11. (lblc2, COURT STAFF) (Filed on 3/1/2011) Modified on 3/2/2011
                    (cjl, COURT STAFF). (Entered: 03/01/2011)

03/01/2011   Ï 21   CLERKS NOTICE re Consent to Proceed Before a Magistrate Judge and Request for
                    Reassignment to a United States District Judge. (ls, COURT STAFF) (Filed on 3/1/2011)
                    (Entered: 03/01/2011)

03/02/2011   Ï 22   CLERKS NOTICE re: Failure to E−File. (cjl, COURT STAFF) (Filed on 3/2/2011) (Entered:
                    03/02/2011)

03/07/2011   Ï 23   Declination to Proceed Before a U.S. Magistrate Judge by Xilinx, Inc.. (Shariati, Behrooz) (Filed
                    on 3/7/2011) (Entered: 03/07/2011)

03/08/2011   Ï 24   CLERK'S NOTICE of Impending Reassignment to U.S. District Judge. (ls, COURT STAFF)
                    (Filed on 3/8/2011) (Entered: 03/08/2011)

03/09/2011   Ï 25   ORDER REASSIGNING CASE. Case reassigned to Judge Hon. Lucy H. Koh for all further
                    proceedings. Magistrate Judge Laurel Beeler no longer assigned to the case. Signed by the
                    Executive Committee on March 9, 2011. (cjl, COURT STAFF) (Filed on 3/9/2011) (Entered:
                    03/09/2011)

03/18/2011   Ï 26   APPLICATION of John M. Desmarais for Admission Pro Hac Vice ( Filing fee $ 275, receipt
                    number 54611009308) filed by Intellectual Ventures I LLC, Intellectual Ventures II LLC,
                    Intellectual Ventures Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I
                    LP, Invention Investment Fund II LLC. (dhm, COURT STAFF) (Filed on 3/18/2011) (Entered:
                    03/24/2011)

03/18/2011   Ï 27   Proposed Order re 26 APPLICATION of John M. Desmarais for Admission Pro Hac Vice ( Filing
                    fee $ 275, receipt number 54611009308) by Intellectual Ventures I LLC, Intellectual Ventures II
                    LLC, Intellectual Ventures Management LLC, Intellectual Ventures, LLC, Invention Investment
                    Fund I LP, Invention Investment Fund II LLC. (dhm, COURT STAFF) (Filed on 3/18/2011)
                    (Entered: 03/24/2011)

03/18/2011   Ï 28   APPLICATION of Michael P. Stadnick for Admission Pro Hac Vice ( Filing fee $ 275, receipt
                    number 54611009308) filed by Intellectual Ventures I LLC, Intellectual Ventures II LLC,
                    Intellectual Ventures Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I
                    LP, Invention Investment Fund II LLC. (dhm, COURT STAFF) (Filed on 3/18/2011) (Entered:
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                    03/24/2011)

03/18/2011   Ï 29   Proposed Order re 28 APPLICATION of Michael P. Stadnick for Admission Pro Hac Vice (
                    Filing fee $ 275, receipt number 54611009308) by Intellectual Ventures I LLC, Intellectual
                    Ventures II LLC, Intellectual Ventures Management LLC, Intellectual Ventures, LLC, Invention
                    Investment Fund I LP, Invention Investment Fund II LLC. (dhm, COURT STAFF) (Filed on
                    3/18/2011) (Entered: 03/24/2011)

03/18/2011   Ï 30   APPLICATION of Ameet A. Modi for Admission Pro Hac Vice ( Filing fee $ 275, receipt
                    number 54611009308) filed by Intellectual Ventures I LLC, Intellectual Ventures II LLC,
                    Intellectual Ventures Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I
                    LP, Invention Investment Fund II LLC. (dhm, COURT STAFF) (Filed on 3/18/2011) (Entered:
                    03/24/2011)

03/18/2011   Ï 31   Proposed Order re 30 APPLICATION of Ameet A. Modi for Admission Pro Hac Vice ( Filing
                    fee $ 275, receipt number 54611009308) by Intellectual Ventures I LLC, Intellectual Ventures II
                    LLC, Intellectual Ventures Management LLC, Intellectual Ventures, LLC, Invention Investment
                    Fund I LP, Invention Investment Fund II LLC. (dhm, COURT STAFF) (Filed on 3/18/2011)
                    (Entered: 03/24/2011)

03/18/2011   Ï 32   APPLICATION of Eugene Chiu for Admission Pro Hac Vice ( Filing fee $ 275, receipt number
                    54611009308) filed by Intellectual Ventures I LLC, Intellectual Ventures II LLC, Intellectual
                    Ventures Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I LP,
                    Invention Investment Fund II LLC. (dhm, COURT STAFF) (Filed on 3/18/2011) (Entered:
                    03/24/2011)

03/18/2011   Ï 33   Proposed Order re 32 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 275, receipt
                    number 54611009308) by Intellectual Ventures I LLC, Intellectual Ventures II LLC, Intellectual
                    Ventures Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I LP,
                    Invention Investment Fund II LLC. (dhm, COURT STAFF) (Filed on 3/18/2011) (Entered:
                    03/24/2011)

03/24/2011   Ï 34   CLERKS NOTICE SETTING CASE MANAGEMENT CONFERENCE Case Management
                    Statement due by 6/10/2011. Case Management Conference set for 6/17/2011 01:30 PM in
                    Courtroom 4, 5th Floor, San Jose. (mpb, COURT STAFF) (Filed on 3/24/2011) (Entered:
                    03/24/2011)

03/28/2011     Ï    Case Assigned to Magistrate Judge Paul Singh Grewal for all discovery matters. (tsh, COURT
                    STAFF) (Filed on 3/28/2011) (Entered: 03/28/2011)

03/30/2011   Ï 35   ORDER by Judge Koh granting 26 Motion for Pro Hac Vice of John Desmarais. (lhklc3, COURT
                    STAFF) (Filed on 3/30/2011) (Entered: 03/30/2011)

03/30/2011   Ï 36   ORDER by Judge Koh granting 28 Motion for Pro Hac Vice of Michael Stadnick. (lhklc3,
                    COURT STAFF) (Filed on 3/30/2011) (Entered: 03/30/2011)

03/30/2011   Ï 37   ORDER by Judge Koh granting 30 Motion for Pro Hac Vice of Ameet Modi. (lhklc3, COURT
                    STAFF) (Filed on 3/30/2011) (Entered: 03/30/2011)

03/30/2011   Ï 38   ORDER by Judge Koh granting 32 Motion for Pro Hac Vice of Eugene Chiu. (lhklc3, COURT
                    STAFF) (Filed on 3/30/2011) (Entered: 03/30/2011)

04/11/2011   Ï 39   MOTION to Dismiss Xilinx's Complaint for Declaratory Judgment filed by Intellectual Ventures
                    I LLC, Intellectual Ventures II LLC, Intellectual Ventures Management LLC, Intellectual
                    Ventures, LLC, Invention Investment Fund I LP, Invention Investment Fund II LLC. Motion
                    Hearing set for 7/21/2011 01:30 PM in Courtroom 4, 5th Floor, San Jose before Hon. Lucy H.
                    Koh. (Attachments: # 1 Proposed Order)(Black, Bradford) (Filed on 4/11/2011) (Entered:
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04/11/2011    Ï 40   Declaration of Ameet A. Modi in Support of 39 MOTION to Dismiss Xilinx's Complaint for
                     Declaratory Judgment filed byIntellectual Ventures I LLC, Intellectual Ventures II LLC,
                     Intellectual Ventures Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I
                     LP, Invention Investment Fund II LLC. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit
                     B, # 3 Exhibit Exhibit C, # 4 Exhibit Exhibit D, # 5 Exhibit Exhibit E, # 6 Exhibit Exhibit F, # 7
                     Exhibit Exhibit G, # 8 Exhibit Exhibit H, # 9 Exhibit Exhibit I, # 10 Exhibit Exhibit J, # 11
                     Exhibit Exhibit K, # 12 Exhibit Exhibit L, # 13 Exhibit Exhibit M, # 14 Exhibit Exhibit N, # 15
                     Exhibit Exhibit O, # 16 Exhibit Exhibit P, # 17 Exhibit Exhibit Q, # 18 Exhibit Exhibit R, # 19
                     Exhibit Exhibit S, # 20 Exhibit Exhibit T, # 21 Exhibit Exhibit U)(Related document(s) 39 )
                     (Black, Bradford) (Filed on 4/11/2011) (Entered: 04/11/2011)

04/11/2011    Ï 41   Administrative Motion to File Under Seal filed by Xilinx, Inc.. (Attachments: # 1 Stipulation to
                     Permit Xilinx to File Under Seal, # 2 Declaration of Behrooz Shariati, # 3 [Proposed]
                     Order)(Shariati, Behrooz) (Filed on 4/11/2011) (Entered: 04/11/2011)

04/11/2011    Ï 42   Declaration of Behrooz Shariati in Support of Xilinx Motion to Enjoin filed byXilinx, Inc..
                     (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Shariati, Behrooz) (Filed on 4/11/2011) (Entered:
                     04/11/2011)

04/11/2011    Ï 43   Declaration of Justin Liu in Support of Xilinx Motion to Enjoin filed byXilinx, Inc.. (Shariati,
                     Behrooz) (Filed on 4/11/2011) (Entered: 04/11/2011)

04/11/2011    Ï 44   Proposed Order Granting Xilinx Motion to Enjoin by Xilinx, Inc.. (Shariati, Behrooz) (Filed on
                     4/11/2011) (Entered: 04/11/2011)

04/12/2011    Ï 45   Administrative Motion to File Under Seal Defendants' Certificate of Interested Entities or
                     Persons Pursuant to Civil Local Rule 3−16 and F.R.C.P. 7.1 filed by Intellectual Ventures I LLC,
                     Intellectual Ventures II LLC, Intellectual Ventures Management LLC, Intellectual Ventures,
                     LLC, Invention Investment Fund I LP, Invention Investment Fund II LLC. (Attachments: # 1
                     Declaration of Peter Detkin, # 2 Declaration of Bradford Black, # 3 Proposed Order)(Black,
                     Bradford) (Filed on 4/12/2011) (Entered: 04/12/2011)

04/18/2011    Ï 46   RESPONSE (re 45 Administrative Motion to File Under Seal Defendants' Certificate of
                     Interested Entities or Persons Pursuant to Civil Local Rule 3−16 and F.R.C.P. 7.1 ) filed
                     byXilinx, Inc.. (Attachments: # 1 Declaration of Laurie M. Charrington, # 2 Proposed
                     Order)(Charrington, Laurie) (Filed on 4/18/2011) (Entered: 04/18/2011)

04/28/2011    Ï 47   ORDER OF RECUSAL. Signed by Judge Koh on 4/28/2011. (lhklc3, COURT STAFF) (Filed on
                     4/28/2011) (Entered: 04/28/2011)

04/28/2011    Ï 48   ORDER REASSIGNING CASE. Case reassigned to Judge Susan Illston for all further
                     proceedings. Judge Lucy H. Koh no longer assigned to the case.Signed by The Executive
                     Committee on 4/28/2011. (tsh, COURT STAFF) (Filed on 4/28/2011) (Entered: 05/02/2011)

05/10/2011    Ï 49   Renotice motion hearing re 39 MOTION to Dismiss Xilinx's Complaint for Declaratory Judgment
                     filed byIntellectual Ventures I LLC, Intellectual Ventures II LLC, Intellectual Ventures
                     Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I LP, Invention
                     Investment Fund II LLC. Motion Hearing set for 7/29/2011 09:00 AM in Courtroom 10, 19th
                     Floor, San Francisco before Hon. Susan Illston. (Attachments: # 1 Proposed Order)(Related
                     document(s) 39 ) (Black, Bradford) (Filed on 5/10/2011) (Entered: 05/10/2011)

05/10/2011    Ï 50   AMENDED DOCUMENT by Xilinx, Inc.. Amendment to 41 Administrative Motion to File
                     Under Seal Amended Notice. (Shariati, Behrooz) (Filed on 5/10/2011) (Entered: 05/10/2011)

05/10/2011    Ï 51   Proposed Order re 41 Administrative Motion to File Under Seal by Xilinx, Inc.. (Shariati,
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                     Behrooz) (Filed on 5/10/2011) (Entered: 05/10/2011)

05/11/2011    Ï 52   Proposed Order re 41 Administrative Motion to File Under Seal Amended [Proposed] Order by
                     Xilinx, Inc.. (Shariati, Behrooz) (Filed on 5/11/2011) (Entered: 05/11/2011)

05/11/2011    Ï 53   ORDER granting 41 Administrative Motion to File Under Seal (tf, COURT STAFF) (Filed on
                     5/11/2011) (Entered: 05/11/2011)

05/11/2011    Ï 54   ORDER denying 45 Administrative Motion to File Under Seal (tf, COURT STAFF) (Filed on
                     5/11/2011) (Entered: 05/11/2011)

05/13/2011    Ï 55   NOTICE by Intellectual Ventures I LLC, Intellectual Ventures II LLC, Intellectual Ventures
                     Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I LP, Invention
                     Investment Fund II LLC of Withdrawal of Frank M. Washko (Black, Bradford) (Filed on
                     5/13/2011) (Entered: 05/13/2011)

05/13/2011    Ï 56   DOCUMENT E−FILED UNDER SEAL re 53 Order on Administrative Motion to File Under
                     Seal − Plaintiff's Motion to Enjoin by Xilinx, Inc.. (Shariati, Behrooz) (Filed on 5/13/2011)
                     Modified on 5/16/2011 (ysS, COURT STAFF). (Entered: 05/13/2011)

05/13/2011    Ï 57   CLERKS NOTICE Initial Case Management Conference set for 7/29/2011 02:30 PM.
                     (Attachments: # 1 Standing Order) (tf, COURT STAFF) (Filed on 5/13/2011) (Entered:
                     05/13/2011)

05/13/2011    Ï 58   REDACTION Public Version of 56 Plaintiff's Motion to Enjoin by Xilinx, Inc.. (Shariati,
                     Behrooz) (Filed on 5/13/2011) Modified on 5/16/2011 (ysS, COURT STAFF). (Entered:
                     05/13/2011)

05/14/2011    Ï 59   NOTICE of Appearance by Bradford John Black of Peter H. Chang (Black, Bradford) (Filed on
                     5/14/2011) (Entered: 05/14/2011)

05/16/2011    Ï 60   Certificate of Interested Entities by Intellectual Ventures I LLC, Intellectual Ventures II LLC,
                     Intellectual Ventures Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I
                     LP, Invention Investment Fund II LLC (Black, Bradford) (Filed on 5/16/2011) (Entered:
                     05/16/2011)

05/18/2011      Ï    Set/Reset Deadlines as to 56 MOTION to Enjoin. Motion Hearing set for 7/29/2011 09:00 AM
                     before Hon. Susan Illston. (ysS, COURT STAFF) (Filed on 5/18/2011) (Entered: 05/18/2011)

07/06/2011    Ï 61   ADR Certification (ADR L.R. 3−5 b) of discussion of ADR options by Xilinx, Inc. (Shariati,
                     Behrooz) (Filed on 7/6/2011) (Entered: 07/06/2011)

07/08/2011    Ï 62   STIPULATION AND [PROPOSED] ORDER TO PERMIT DEFENDANTS TO FILE UNDER
                     SEAL by Intellectual Ventures I LLC, Intellectual Ventures II LLC, Intellectual Ventures
                     Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I LP, Invention
                     Investment Fund II LLC. (Black, Bradford) (Filed on 7/8/2011) (Entered: 07/08/2011)

07/08/2011    Ï 63   STIPULATION AND [PROPOSED] ORDER TO PERMIT XILINX TO FILE UNDER SEAL by
                     Xilinx, Inc.. (Shariati, Behrooz) (Filed on 7/8/2011) (Entered: 07/08/2011)

07/08/2011    Ï 64   RESPONSE (re 39 MOTION to Dismiss Xilinx's Complaint for Declaratory Judgment ) filed
                     byXilinx, Inc.. (Attachments: # 1 [Proposed] Order)(Shariati, Behrooz) (Filed on 7/8/2011)
                     (Entered: 07/08/2011)

07/08/2011    Ï 65   DECLARATION of Behrooz Shariati in Opposition to 64 Opposition/Response to Motion filed
                     byXilinx, Inc.. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                     5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12
                     Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14)(Related document(s) 64 ) (Shariati, Behrooz) (Filed
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                     on 7/8/2011) (Entered: 07/08/2011)

07/08/2011    Ï 66   Declaration of Justin Liu in Support of 64 Opposition/Response to Motion to Dismiss filed
                     byXilinx, Inc.. (Attachments: # 1 Exhibit 12)(Related document(s) 64 ) (Shariati, Behrooz) (Filed
                     on 7/8/2011) (Entered: 07/08/2011)

07/11/2011    Ï 67   RESPONSE (re 56 MOTION ) Opposition to Plaintiff's Motion to Enjoin filed byIntellectual
                     Ventures I LLC, Intellectual Ventures II LLC, Intellectual Ventures Management LLC,
                     Intellectual Ventures, LLC, Invention Investment Fund I LP, Invention Investment Fund II LLC.
                     (Attachments: # 1 Declaration of Joseph F. Chernesky)(Black, Bradford) (Filed on 7/11/2011)
                     (Entered: 07/11/2011)

07/12/2011    Ï 68   ORDER Granting Motion to File Under Seal (link e.filed documents to this order) (tf, COURT
                     STAFF) (Filed on 7/12/2011) (Entered: 07/12/2011)

07/13/2011    Ï 69   ORDER Granting Motion to File Under Seal (tf, COURT STAFF) (Filed on 7/13/2011) (Entered:
                     07/13/2011)

07/13/2011    Ï 70   ORDER Granting Motion to File Under Seal (tf, COURT STAFF) (Filed on 7/13/2011) (Entered:
                     07/13/2011)

07/13/2011    Ï 71   DOCUMENT E−FILED UNDER SEAL re 68 Order Granting Motion to File Under Seal Xilinx's
                     Opposition to Defendants' Motion to Dismiss Complaint for Declaratory Judgment by Xilinx,
                     Inc.. (Shariati, Behrooz) (Filed on 7/13/2011) (Entered: 07/13/2011)

07/13/2011    Ï 72   DOCUMENT E−FILED UNDER SEAL re 68 Order Granting Motion to File Under Seal
                     Declaration of Justin Liu in Support of Xilinx's Opposition by Xilinx, Inc.. (Attachments: # 1
                     Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, #
                     8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 13, # 13 Exhibit
                     14)(Shariati, Behrooz) (Filed on 7/13/2011) (Entered: 07/13/2011)

07/13/2011    Ï 73   RESPONSE (re 39 MOTION to Dismiss Xilinx's Complaint for Declaratory Judgment ) Xilinx's
                     Opposition to Defendants' Motion to Dismiss Complaint for Declaratory Judgment (Public
                     Version) filed byXilinx, Inc.. (Shariati, Behrooz) (Filed on 7/13/2011) (Entered: 07/13/2011)

07/13/2011    Ï 74   DOCUMENT E−FILED UNDER SEAL re 70 Order Granting Motion to File Under Seal
                     Defendants' Opposition to Plaintiff's Motion to Enjoin by Intellectual Ventures I LLC, Intellectual
                     Ventures II LLC, Intellectual Ventures Management LLC, Intellectual Ventures, LLC, Invention
                     Investment Fund I LP, Invention Investment Fund II LLC. (Attachments: # 1 Declaration of
                     Joseph F. Chernesky, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C)(Black, Bradford) (Filed on
                     7/13/2011) (Entered: 07/13/2011)

07/15/2011    Ï 75   Administrative Motion to File Under Seal Stipulation and [Proposed] Order to Permit Xilinx to
                     File Under Seal Its Reply in Support of its Motion to Enjoin filed by Xilinx, Inc.. (Shariati,
                     Behrooz) (Filed on 7/15/2011) (Entered: 07/15/2011)

07/15/2011    Ï 76   Declaration of Behrooz Shariati in Support of Xilinx's Reply in Support of Its Motion to Enjoin
                     filed byXilinx, Inc.. (Shariati, Behrooz) (Filed on 7/15/2011) (Entered: 07/15/2011)

07/15/2011    Ï 77   STIPULATION AND [PROPOSED] ORDER TO FILE UNDER SEAL CONFIDENTIAL
                     INFORMATION DISCLOSED IN DEFENDANTS' REPLY IN SUPPORT OF MOTION TO
                     DISMISS XILINX'S COMPLAINT FOR DECLARATORY JUDGMENT by Intellectual Ventures I
                     LLC, Intellectual Ventures II LLC, Intellectual Ventures Management LLC, Intellectual
                     Ventures, LLC, Invention Investment Fund I LP, Invention Investment Fund II LLC. (Black,
                     Bradford) (Filed on 7/15/2011) (Entered: 07/15/2011)

07/15/2011    Ï 78   REPLY (re 39 MOTION to Dismiss Xilinx's Complaint for Declaratory Judgment ) Reply in
                     Support of Defendants' Motion to Dismiss Xilinx's Complaint for Declaratory Judgment (Public
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                     Version) filed byIntellectual Ventures I LLC, Intellectual Ventures II LLC, Intellectual Ventures
                     Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I LP, Invention
                     Investment Fund II LLC. (Attachments: # 1 Declaration of Joseph F. Chernesky)(Black,
                     Bradford) (Filed on 7/15/2011) (Entered: 07/15/2011)

07/20/2011    Ï 79   ORDER granting 75 Administrative Motion to File Under Seal (tf, COURT STAFF) (Filed on
                     7/20/2011) (Entered: 07/20/2011)

07/20/2011    Ï 80   ORDER Granting Motion to File Under Seal re 77 Stipulation. (tf, COURT STAFF) (Filed on
                     7/20/2011) Modified on 7/21/2011 (ysS, COURT STAFF). (Entered: 07/20/2011)

07/20/2011    Ï 81   DOCUMENT E−FILED UNDER SEAL re 80 Order Granting Motion to File Under Seal −
                     Defendants' Reply in Support of 39 their Motion to Dismiss Xilinx's Complaint for Declaratory
                     Judgment by Intellectual Ventures I LLC, Intellectual Ventures II LLC, Intellectual Ventures
                     Management LLC, Intellectual Ventures, LLC, Invention Investment Fund I LP, Invention
                     Investment Fund II LLC. (Attachments: # 1 Declaration of Joseph F. Chernesky)(Black,
                     Bradford) (Filed on 7/20/2011) Modified on 7/21/2011 (ysS, COURT STAFF). (Entered:
                     07/20/2011)

07/21/2011    Ï 82   DOCUMENT E−FILED UNDER SEAL re 79 Order on Administrative Motion to File Under
                     Seal − Xilinx's Reply in Support of 56 Its Motion to Enjoin by Xilinx, Inc.. (Shariati, Behrooz)
                     (Filed on 7/21/2011) Modified on 7/21/2011 (ysS, COURT STAFF). (Entered: 07/21/2011)

07/21/2011    Ï 83   DOCUMENT E−FILED UNDER SEAL re 79 Order on Administrative Motion to File Under
                     Seal − Exhibit 1 to 76 Declaration of Behrooz Shariati by Xilinx, Inc.. (Shariati, Behrooz) (Filed
                     on 7/21/2011) Modified on 7/21/2011 (ysS, COURT STAFF). (Entered: 07/21/2011)

07/21/2011    Ï 84   REPLY in support of (re 56 MOTION ) to Enjoin − Public Version filed byXilinx, Inc.. (Shariati,
                     Behrooz) (Filed on 7/21/2011) Modified on 7/21/2011 (ysS, COURT STAFF). (Entered:
                     07/21/2011)

07/22/2011    Ï 85   JOINT CASE MANAGEMENT STATEMENT and [Proposed] Case Management Order filed
                     by Xilinx, Inc.. (Shariati, Behrooz) (Filed on 7/22/2011) (Entered: 07/22/2011)

07/27/2011    Ï 86   ORDER RE: MOTIONS TO ENJOIN, DISMISS AND/OR TRANSFER (SI, COURT STAFF)
                     (Filed on 7/27/2011) (Entered: 07/27/2011)

07/28/2011    Ï 87   CLERKS NOTICE: Transferring to the USDC for the District of Delaware the claims concerning
                     the patents that are part of the Delaware Action (patent '325, '087, '646 and '669). (ysS, COURT
                     STAFF) (Filed on 7/28/2011) (Entered: 07/28/2011)
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                      EXHIBIT B
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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE

 XILINX, INC.,                                 )
                                               )
                        Plaintiff,             )    Civil Action No. _ __
                                               )
                        V.                     )    JURY TRIAL DEMANDED
                                               )
 LSI CORP. and                                 )
 AGERE SYSTEMS, INC.,                          )
                                               )
                        Defendants.            )


             COMPLAINT FOR DECLARATORY JUDGMENT OF PATENT NON-
              INFRINGEMENT, INVALIDITY, UNENFORCEABILITY, AND FOR
            UNENFORCEABILITY BY LSI AND AGERE OF THE PATENT LICENSE
                      AGREEMENT BETWEEN AT&T AND XILINX

        Xilinx, Inc. ("Xilinx" or "Plaintiff'), by and through its undersigned counsel, complains

 against LSI Corp. ("LSI") and Agere Systems Inc. ("Agere") (collectively "Defendants") as

 follows:


                                     NATURE OF THE ACTION

        1.      This is an action for declaratory judgment of patent non-infringement, invalidity,

 and unenforceability arising under the patent laws of the United States, Title 35 of the United

 States Code, and for declaratory judgment ofunenforceability by LSI and Agere of the March 1,

 1992, Patent license Agreement ("PLA") between American Telephone and Telegraph Inc.

 ("AT&T") and Xilinx.

                                          THE PARTIES

        2.      Plaintiff, Xilinx, is a Delaware corporation with its principal place of business at

 2100 Logic Drive, San Jose, California 95124. Xilinx is engaged in the business of designing,

 developing, and marketing programmable logic solutions.
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        3.       On information and belief, Defendant LSI is a Delaware corporation with its

 principal place of business at 1621 Barber Lane, Milpitas, California 95035. On information

 and belief, LSI is in the business of developing and marketing integrated circuits and storage

 systems. On information and belief, LSI is organized and existing under the laws of Delaware or

 is otherwise subject to the jurisdiction of this Court.

        4.       On information and belief, Defendant Agere is a Delaware corporation with its

 principal place of business at 1110 American Parkway NE, Allentown, Pennsylvania 18109. On

 information and belief, Agere is in the business of developing and marketing integrated circuits

 and storage systems. On information and belief, Agere is organized and existing under the laws

 of Delaware or is otherwise subject to the jurisdiction of this Court. On information and belief

 Agere is a wholly owned subsidiary of LSI.

                                  JURISDICTION AND VENUE

         5.      This action arises under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 et seq.,

 under the patent laws of the United States, Title 35 of the United States Code, and under

 California contract law. This Court has subject-matter jurisdiction pursuant to 28 U.S.C. §§

 1331, 1338, 1367, 2201, and 2202.

         6.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)-(c) and 1400(b).

                                      THE PATENTS-IN-SIDT

         7.      The United States Patent and Trademark Office (the "U.S.P.T.O.") issued United

 States Patent No. 5,194,765 ("the '765 patent"), entitled "Digitally Controlled Element Sizing,"

 on March 16, 1993. A copy of the '765 patent is attached hereto as Exhibit 1.

         8.      The U.S.P.T.O. issued United States Patent No. 5,222,030 ("the '030 patent"),

 entitled "Methodology for Deriving Executable Low-level Structural Descriptions and Valid

 Physical Implementations of Circuits and Systems from High-level Semantic Specifications and

 Descriptions Thereof," on June 22, 1993. A copy of the '030 patent is attached hereto as Exhibit

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         9.      The U.S.P.T.O. issued United States Patent No. 5,243,229 ("the '229 patent"),
 entitled "Digitally Controlled Element Sizing," on September 7, 1993. A copy of the '229 patent

 is attached hereto as Exhibit 3.

         10.     The U.S.P.T.O. issued United States Patent No. 5,416,431 ("the '431 patent"),

 entitled "Integrated Circuit Clock Driver Having Improved Layout," on May 16, 1995. A copy
 of the '431 patent is attached hereto as Exhibit 4.

         11.     The U.S.P.T.O. issued United States Patent No. 5,526,277 ("the '277 patent"),
 entitled "ECAD System for Serving Executable Low-level Structural Descriptions and Valid

 Physical Implementations of Circuits and Systems from High-level Semantic Descriptions

 Thereof," on June 11, 1996. A copy of the '277 patent is attached hereto as Exhibit 5.

         12.     The U.S.P.T.O. issued United States Patent No. 5,663,900 ("the '900 patent"),

 entitled "Electronic Simulation and Emulation System," on September 2, 1997. A copy of the
 '900 patent is attached hereto as Exhibit 6.

         13.     The U.S.P.T.O. issued United States Patent No. 5,801,958 ("the '958 patent"),
 entitled "Method and System for Creating and Validating Low Level Description of Electronic

 Design from Higher Level, Behavior-oriented Description, Including Interactive System for

 Hierarchical Display of Control and Dataflow Information," on September 1, 1998. A copy of

 the '_958 patent is attached hereto as Exhibit 7.

         14.     The U.S.P.T.O. issued United States Patent No. 6,184,700 ("the '700 patent"),

 entitled "Fail Safe Buffer Capable of Operating With a Mixed Voltage Core," on February 6,

 2001. A copy of the '700 patent is attached hereto as Exhibit 8.

         15.    The U.S.P.T.O. issued United States Patent No. 6,305,001 ("the '001 patent"),

 entitled "Clock Distribution Network Planning and Method Therefore," on October 16, 2001. A

 copy of the '001 patent is attached hereto as Exhibit 9.

         16.    The U.S.P.T.O. issued United States Patent No. 6,313,683 ("the '683 patent"),

 entitled "Method of Providing Clock Signals to Load Circuits in an ASIC Device," on November

 6, 2001. A copy of the '683 patent is attached hereto as Exhibit 10.



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         17.     The U.S.P.T.O. issued United States Patent No. 6;124,677 ("the '677 patent"),

 entitled "Integrated Circuit Layout Design," on November 27, 2001. A copy of the '677 patent

 is attached hereto as Exhibit 11.

         18.     The U.S.P.T.O. issued United States Patent No. 6,564,361 ("the '361 patent"),

 entitled "Method and Apparatus for Timing Driven Resynthesis," on May 13, 2003. A copy of

 the '361 patent is attached hereto as Exhibit 12.

         19.     The U.S.P.T.O. issued United States Patent No. 6,640,333 ("the '333 patent"),

 entitled "Architecture for a Sea of Platforms," on October 28, 2003. A copy of the '333 patent is

 attached hereto as Exhibit 13.

         20.     The U.S.P.T.O. issued United States Patent No. 5,895,968 ("the '968 patent"),

 entitled "Semiconductor Device Assembly with Minimized Bond Finger Connections," on April

 20, 1999. A copy of the '968 patent is attached hereto as Exhibit 14.

         21.     The U.S.P.T.O. issued United States Patent No. 5,952,726 ("the '726 patent"),

 entitled "Flip Chip Bump Distribution on Die," on September 14, 1999. A copy of the '726

 patent is attached hereto as Exhibit 15.

                                     FIRST CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '765 Patent)

         22.     The allegations contained in paragraphs 1 through 21 are incorporated by

 reference as if fully set herein.

         23.     Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under the '7 65 patent.

         24.     Defendants have accused Plaintiff of infringing the '765 patent through its

 manufacture, sale, use, and/or importation of certain integrated circuits, and have asserted that

 Plaintiff must take a license to the '765 patent to lawfully continue the manufacture, sale, use,

 and/or importation of these integrated circuits.




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         25.     Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these integrated circuits without a

 license to the '765 patent.

         26.     Defendants have asserted that the '765 patent is within the scope of the Patent

 license Agreement ("PLA") between Xilinx and AT&T. Defendants have further asserted that

 they have certain rights under the PLA. Defendant Agere has filed an action in the Supreme

 Court of the State ofNew York, County ofNew York, for alleged breach of the PLA.

         27.     Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '765 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         28.     On information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '765 patent, either literally or under the doctrine of

 equivalents.

         29.     A judicial declaration of non-infringement is necessary and appropriate in order to

 resolve this controversy.

                                     SECOND CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '765 Patent)

         30.     The allegations contained in paragraphs 1 through 29 are incorporated by

 reference as if fully set herein.

         31.     Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '765 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         32.     On information and belief, the '765 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.



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         33.     A judicial declaration of invalidity is necessary and appropriate in order to resolve

 this controversy.

                                     TIDRD CAUSE OF ACTION

                 (Declaratory Judgment of Unenforceability of the '765 Patent)

         34.     The allegations contained in paragraphs 1 through 33 are incorporated by

 reference as if fully set herein.

         35.     Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the

 unenforceability of the '765 patent. A valid and justiciable controversy has arisen and exists

 among Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         36.     On information and belief, the '765 patent is unenforceable by reason of

 inequitable conduct committed during the prosecution of the patent before the U.S.P.T.O. While

 the full scope of such inequitable conduct is not now known in its entirety and with precision,

 such conduct includes at least the deliberate withholding of information, including prior art and

 information regarding the status and prosecution of co-pending applications in related patents,

 from the U.S.P.T.O. described below.

                 (a)     Deliberate Withholding of Prior Art

         37.     On June 28, 1991, Thaddeus J. Gabara, and Scott C. Knauer (collectively the

 "'229 Applicants") filed U.S. Patent Application No. 724,559 ("the '559 application") .with

 Alfred E. Hirsch, Jr., William Ryan, and Henry T. Brendzel identified as prosecuting counsel.

 This patent application became the '229 patent.

         38.     On June 28, 1991, the '299 Applicants, together with Alfred E. Dunlop

 (collectively the "'765 Applicants"), filed U.S. Patent Application No. 724,560 ("the '560

 application"), again with Alfred E. Hirsch, Jr., William Ryan, and Henry T. Brendzel identified

 as prosecuting counsel. This patent application became the '765 patent.

         39.     The '229 and '765 patents have substantially similar specifications, sharing

 abstracts, background information, invention summaries, figures, and the greater part of their



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 preferred embodiments. The '229 and '765 patents also share similar claim language; while the

  '765 patent has fewer claims than the '229 patent (7 versus 46), many of these claims share

 limitations with the 229 patent.

         40.     The '229 Applicants are common to both patents.

         41.     On June 18, 1992, the '229 Applicants filed European Patent Application No.

  92305585.9, published as EP0520687 Al ("the '687 EP Application"), which is substantially

  similar to the '229 patent and to the '559 application.

         42.     On July 31, 1992, the European Patent Office completed a search report in

 association with the '687 EP Application ("the '687 Search Report"). The '687 Search Report

  (attached as Exhibit 16) enumerated 13 items of prior art, of which 12 were designated with an

 "X" signifying these items of art were "particularly relevant if taken alone." Further, these 12

 were not designated with a "D," meaning that they were not cited in the '687 EP Application by

 the '229 Applicants (who constitute two of the three '765 Applicants). The 12 items of prior art

 designated as "particularly relevant if taken alone" are:

         i)      DE-A-3 627 681 (HITACHI LTD). This item was identified as "particularly
                 relevant if taken alone" with respect to claims 1-4, 8, and 9 of the '687 EP
                 Application. These claims correspond to claims 1-3, 18, 31, and 36 of the '229
                 patent. Also, claim 1 of the '765 patent shares a limitation with claim 1 of the
                 '229 patent and claim 7 of the '765 patent shares a limitation with '229 patent
                 claim 31.

         ii)     Emsworth, Programmable Impedance Off-Chip Driver, Research Disclosure no.
                 313, May 1990, page 370, GB. This item was identified as "particularly relevant
                 if taken alone" with respect to claims 1 and 3 of the '687 EP Application. These
                 claims correspond to claims 1 and 3 of the '229 patent. Also, claim 1 of the '765
                 patent shares a limitation with claim 1 of the '229 patent.

         iii)    Patent Abstracts of Japan vol. 10, no. 297 (E-444)(2353), 9 October 1986; & JP -
                 A- 61112424 (NEC CORP) 30.05.1986. This item was identified as
                 "particularly relevant if taken alone" with respect to claims 1, 3, and 4 of the '687
                 EP Application. These claims correspond to claims 1, 3, and 18 of the '229
                 patent. Also, claim 1 of the '765 patent shares a limitation with claim 1 of the
                 '229 patent.




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       iv)     PateritAbstracts of Japan vol. 9, no. 10 (E-290)(1733), 17 January 1985; & JP-
               A- 59158623 (MATSUSHITA DENKO K.K.) 08.09.1984. This item was
               identified as "particularly relevant if taken alone" with respect to claims 1 and 3
               of the '687 EP Application. These claims correspond to claims 1 and 3 of the
               '229 patent. Also, claim 1 of the '765 patent shares a limitation with claim 1 of
               the '229 patent.

       v)      Patent Abstracts of Japan vol. 15, no. 315 (E-1099), 12 August 1991; & JP-A-
               3117020 (NEC CORP) 17.05.1991. This item was identified as "particularly
               relevant if taken alone" with respect to claims 1 and 3 of the '687 EP Application.
               These claims correspond to claims 1 and 3 of the '229 patent. Also, claim 1 of
               the '765 patent shares a limitation with claim 1 of the '229 patent.

       vi)     Patent Abstracts of Japan vol. 14, no. 257 (E-936)(4200), 4 June 1990; & JP - A -
               278319 (HITACHI LTD) 19.03.1990. This item was identified as "particularly
               relevant if taken alone" with respect to claims 1 and 3 of the '687 EP Application.
               These claims correspond to claims 1 and 3 of the '229 patent. Also, claim 1 of
               the '765 patent shares a limitation with claim 1 of the '229 patent claim 1.

       vii)    Patent Abstracts of Japan vol. 14, no. 229 (E-928)(4172), 15 May 1990; & JP - A
               258925 (NEC IC MICROCOMPUT SYST LTD) 28.02.1990. This item was
               identified as "particularly relevant if taken alone" with respect to claims 1 and 3
               of the '687 EP Application. These claims correspond to claims 1 and 3 of the
               '229 patent. Also, claim 1 of the '765 patent shares a limitation with claim 1 of
               the '229 patent.

       viii)   EP-A-0 315 473 (TEXAS INSTRUMENTS INCORPORATED). This item was
               identified as "particularly relevant if taken alone" with respect to claims 1-4, 8,
               and 9 of the '687 EP Application. These claims correspond to claims 1-3, 18, 31,
               and 36 of the '229 patent. Also, claim 1 of the '765 patent shares a limitation
               with claim 1 of the '229 patent and claim 7 of the '765 patent shares a limitation
               with claim 31 of the '229 patent.

       ix)     EP-A-0 264 470 (INTERNATIONAL BUSINESS MACHINES
               CORPORATION). This item was identified as "particularly relevant if taken
               alone" with respect to claims 1 and 3 of the '687 EP Application. These claims
               correspond to claims 1 and 3 of the '229 patent. Also, claim 1 of the '765 patent
               shares a limitation with claim 1 of the '229 patent.

       x)      US-A-4 707 620 (S.K. SULLIVAN et al.). This item was identified as
               "particularly relevant if taken alone" with respect to claims 1 and 3 of the '687 EP
               Application. These claims correspond to claims 1 and 3 of the '229 patent. Also,
               claim 1 of the '765 patent shares a limitation with claim 1 of the '229 patent.

       xi)     Branson, C., A High Performance, 10-Volt Integrated PIN Electronics Driver,
               International Test Conference 1989, August 29-31, 1989, pages 846-853,




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                  Sheraton Washington Hotel, Washington, US. This item was identified as
                  "particularly relevant if taken alone" with respect to claims 1 and 3 of the '687 EP
                  Application. These claims correspond to claims 1 and 3 of the '229 patent. Also,
                  claim 1 of the '765 patent shares a limitation with claim 1 of the '229 patent.

        xii)      Auto Programming Lumped Load Off-Chip Drivers, IBM Technical Disclosure
                  Bulletin, December 1987, pages 23-25, vol. 30, no. 7, Armonk, NY, US. This
                  item was identified as "particularly relevant if taken alone" with respect to claims
                  1-5, 8, and 9 of the '687 EP Application. These claims correspond to claims 1-3,
                  18, 19, 31, and 36 of the '229 patent. Claim 1 ofthe '765 patent shares a
                  limitation with claim 1 of the '229 patent and claim 7 of the '765 patent shares a
                  limitation with claim 31 of the '229 patent.


        43.       On information and belief, the '687 Search Report disclosed information that is

 material to the patentability of the claims of the '765 patent. However, neither the '687 Search

 Report nor the 12 items of prior art described above were disclosed to the U.S.P.T.O. during the

 prosecution that resulted in the '765 patent. The '765 patent was not granted until March 16,

 1993, more than seven months after the '687 Search Report was issued on July 31, 1992. Thus,

 before the issuance of the '765 patent, the '765 Applicants and others with a duty to disclose

 information material to the patentability of the '765 patent were in possession of highly material

 art and did not disclose this art to the U.S.P.T.O.

        44.       On information and belief, at a minimum, the two '765 Applicants who were also

 named as inventors in connection with the '687 Search Report, and their prosecuting counsel,

 had a duty to disclose at least the art identified above in connection with the prosecution of the

 application of the '765 patent. Because the undisclosed items were relevant to the patentability

 of the '765 patent, failure to disclose this information was a material breach of the duty owed to

 the U.S.P.T.O.

                  (b)    Deliberate Withholding of Material Information Regarding The
                         Status and Prosecution of Co-Pending
                         Applications

        45.       Further, on information and belief, during the pendency of the '765 patent, the

 '765 Applicants and others with a duty to disclose information material to the patentability of the

 '765 patent failed to disclose material information regarding the status and prosecution of co-



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 pending applications in the related patent identified above. These omissions included, but are

 not limited to, the non-disclosure of the '687 Search Report and associated art not necessarily

 prior art, from this co-pending application that a reasonable examiner would consider to be

 material to the patentability of the '765 patent.

         46.     Thus, on information and belief, the '765 Applicants and others with a duty to

 disclose information material to the patentability of the '765 patent intentionally and specifically

 intended to deceive the U.S.P.T.O. as to the true state of the art so as to induce the U.S.P.T.O. to

 improperly issue the '765 patent. Such conduct was inequitable, rendering each and every claim

 of the '765 patent unenforceable.

         47.     A judicial declaration ofunenforceability of the '765 patent is necessary and

 appropriate in order to resolve this controversy.

                                     FOURTH CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '030 Patent)

         48.     The allegations contained in paragraphs I through 47 are incorporated by

 reference as if fully set herein.

         49.     Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under the '030 patent.

         50.     Defendants have accused Plaintiff of infringing the '030 patent through its

 manufacture, sale, use, and/or importation ·of certain software products, and have asserted that

 Plaintiff must take a license to the '030 patent to lawfully continue the manufacture, sale, use,

 and/or importation of these software products.

         51.     Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these software products without a

 license to the '030 patent.

         52.     Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-




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 infringement of the '030 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendant within the meaning of28 U.S.C. § 2201.

         53.     Upon information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '030 patent, either literally or under the doctrine of

 equivalents.

         54.     A judicial declaration of non-infringement of the '030 patent is necessary and

 appropriate in order to resolve this controversy.

                                     FIFTH CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '030 Patent)

         55.     The allegations contained in paragraphs 1 through 54 are incorporated by

 reference as if fully set herein.

         56.     Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '03 0 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         57.     Upon information and belief, the '030 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         58.     A judicial declaration of invalidity of the '030 patent is necessary and appropriate

 in order to resolve this controversy.

                                     SIXTH CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '229 Patent)

         59.     The allegations contained in paragraphs 1 through 58 are incorporated by

 reference as if fully set herein.

         60.     Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under the '229 patent.

         61.     Defendants have accused Plaintiff of infringing the '229 patent through its



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 manufacture, sale, use, and/or importation of certain integrated circuits, and have asserted that

 Plaintiff must take a license to the '229 patent to lawfully continue the manufacture, sale, use,

 and/or importation of these integrated circuits.

         62.     Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these integrated circuits without a

 license to the '229 patent.

         63.     Defendants have asserted that the '229 patent is within the scope of the PLA

 between Xilinx and AT&T. Defendants have further asserted that they have certain rights under

 the PLA. Defendant Agere has filed an action in the Supreme Court of the State of New York,

 County of New York, for alleged breach of the PLA.

         64.     Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '229 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         65.     On information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '229 patent, either literally or under the doctrine of

 equivalents.

         66.     A judicial declaration of non-infringement of the '229 patent is necessary and

 appropriate in order to resolve this controversy.

                                     SEVENTH CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '229 Patent)

         67.     The allegations contained in paragraphs 1 through 66 are incorporated by

 reference as if fully set herein.

         68.     Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '229 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.



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         69.     On information and belief, the '229 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         70.     A judicial declaration of invalidity of the '229 patent is necessary and appropriate

 in order to resolve this controversy.

                                     EIGHTH CAUSE OF ACTION

                  (Declaratory Judgment of Unenforceability of the '229 Patent)

         71.     The allegations contained in paragraphs 1 through 70 are incorporated by

 reference as if fully set herein.

         72.     Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the

 unenforceability of the '229 patent. A valid and justiciable controversy has arisen and exists

 among Plaintiff and Defendants within the meaning of28 U.S.C. § 2201.

         73.     On information and belief, the '229 patent is unenforceable by reason of

 inequitable conduct committed during the prosecution of the patent before the U.S.P.T.O. While

 the full scope of such inequitable conduct is not now known in its entirety and with precision,

 such conduct includes at least the deliberate withholding of information, including prior art and

 information regarding the status and prosecution of co-pending applications in related patents,

 from the U.S.P.T.O. described below.

                 (a)     Deliberate Withholding of Prior Art

         74.     The allegations contained in paragraphs 34 through 47 are incorporated by

 reference as if fully set herein.

         75.     On information and belief, the '229 patent, the '765 patent, and U.S. Patent No.

 5,298,800 ("the '800 patent") have substantially similar specifications, sharing abstracts,

 background information, invention summaries, figures, and the greater part of their preferred

 embodiments. Two named inventors, Thaddeus J. Gabara and Scott C. Knauer (collectively "the

 '229 Applicants"), are common to all three patents.



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        76.     On or about June 28, 1991, the '229 Applicants filed U.S. Patent Application No.

 724,559 ("the '599 application") with Alfred E. Hirsch, Jr., William Ryan, and Henry T.

 Brendzel identified as prosecuting counsel. This patent application became the '229 patent.

        77.     On or about June 28, 1991, the '229 Applicants, together with Alfred E. Dunlop,

 (collectively "the '765 Applicants"), filed U.S. Patent Application No. 724,560 ("the '560

 application"), also with Alfred E. Hirsch, Jr., William Ryan, and Henry T. Brendzel identified as

 prosecuting counsel. This patent application would ultimately issue as the '765 patent.

        78.     On November 2, 1992, the '765 Applicants filed U.S. Patent Application No.

 970,415 ("the '415 application") as a divisional application of the '560 application, with Alfred

 E. Hirsch, Jr., William Ryan, and Henry T. Brendzel still identified as prosecuting counsel. This

 '415 application became the '800 patent.

        79.     On March 24, 1993, the '415 application was rejected. Claim 9 of this divisional

 application was specifically rejected under 35 U.S.C. §102(b) as anticipated by U.S. Patent No.

 5,134,311 ("the '311 patent").

         80.    In a communication received by the U.S.P.T.O. on or about May 6, 1993, the '765
 Applicants (including the '229 Applicants) amended their claims in the '415 application, and in

 doing so explicitly referenced and acknowledged the existence of the '311 patent.

         81.    On information and belief, the cited '311 patent publication disclosed information

 that is material to the patentability of the '229 patent. The '311 patent, alone, and in combination

 with the additional references discussed in this section, describes all the limitations in many of

 the '229 patent claims, including independent claims 1, 3, 31, and dependent claim 42. As such,

 the '311 patent is material to the patentability of the '229 patent.

         82.    Further, in this March 24, 1993 rejection of the '415 application, three additional

 patents material to the patentability of the '229 patent were disclosed:

         U.S. Patent No. 4,855,623              Output buffer having programmable drive current

         U.S. Patent No. 5,095,231              Automatic system for adjusting the output

                                                impedance of fast CMOS drivers



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           U.S. Patent No. 5,170,073             Ultra-low noise port output driver circuit

           83.    On information and belief, the cited '623, '231, and '073 patent publications

 disclose information that is material to the patentability of the '229 patent. All three patents,

 alone, and in combination with the additional references discussed in this section, describe all the

 limitations in claim 1 of the '229 patent. Patents '623 and '073, alone and in combination with

 the additional prior art references discussed in this section, describe all the limitations in claim 3

 of the '229 patent. As such, these three patents are highly material to and not cumulative to the

 patentability of the '229 patent.

           84.    The '229 patent was granted on September 7, 1993, more than five months after

 the office action rejecting claim 9 based on the '311 patent, and referencing the three patents

 .above. The '229 Applicants and others with a duty to disclose information material to the

 patentability of the '229 patent were in possession of highly material art before the '229 patent

 issued.
           85.    Additionally, in an office action related to the '765 patent mailed June 19, 1992,

 five U.S. Patents were disclosed to the '765 Applicants and their prosecuting counsel. These five

 patents were disclosed again when the '765 patent was granted on March 16, 1993:

           U.S. Patent No. 4,584,492             Temperature and process stable MOS input buffer

           U.S. Patent No. 4,691,127             Adaptive electronic buffer system having consistent

                                                 operating characteristics

           U.S. Patent No. 4,825,101             Full-level, fast CMOS output buffer

           U.S. Patent No. 4,855,623             Output buffer having programmable drive current

           U.S. Patent No. 5,095,231             Automatic system for adjusting the output

                                                 impedance of fast CMOS drivers

 Even though the '765 patent was granted more than five months before the '229 patent was

 granted, none of these patents disclosed in the '765 patent were disclosed by the '229 Applicants

 or their counsel during the prosecution of the '229 patent.

           86.    On information and belief, the final four of these five patents are particularly



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 relevant to the subject matter of the '229 patent. The final two of these patents, the '623 and the

 '231, were discussed supra in ,r,r81-82. The '101 patent, alone, and in combination with the

 additional references discussed in this section, describe all the limitations in claims 1 and 3 of the

 '229 patent. The '127 patent, alone, and in combination with the additional references discussed

 in this section, describe all the limitations in claims 1, 31, and 42 of the '229 patent. As such,

 these four patents are material to the patentability of the '229 patent.

        87.     Thus, before the close of prosecution leading to the grant of the '765 patent, and

 well before the issuance of the '229 patent, the '229 Applicants and their prosecuting counsel,

 each with a duty to disclose information material to the patentability of the '229 patent, did not

 disclose material art in their possession.

        88.     Additionally, on June 18, 1992, the '229 Applicants filed European Patent

 Application No. 92305585.9, published as EP0520687 Al ("the '687 EP Application"), which is

 substantially similar to the '229 patent and the '559 application.

        89.     On July 31, 1992, the European Patent Office completed a search report in

 association with the '687 EP Application ("the '687 Search Report"). The '687 Search Report

 (attached as Exhibit 16) enumerated 13 items of prior art, of which 12 were designated with an

 "X" signifying these items of art were "particularly relevant if taken alone." Further, these 12

 were not designated with a "D," meaning that they were not cited in the '687 EP Application by

 the '229 Applicants (who include two of the three '765 Applicants). The 12 items of prior art

 designated as particularly relevant if taken alone are:

        i)      DE-A-3 627 681 (HITACHI LTD). This item was identified as "particularly
                relevant if taken alone" with respect to claims 1-4, 8, and 9 of the '687 EP
                Application. These claims correspond to claims 1-3, 18, 31, and 36 of the '229
                patent.

        ii)     Emsworth, Programmable Impedance Off-Chip Driver, Research Disclosure no.
                313, May 1990, page 370, GB. This item was identified as "particularly relevant
                if taken alone" with respect to claims 1 and 3 of the '687 EP Application. These
                claims correspond to claims 1 and 3 of the '229 patent.




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       iii)    Patent Abstracts of Japan vol. 10, no. 297 (E-444)(2353), 9 October 1986; & JP-
               A- 61112424 (NEC CORP) 30.05.1986. This item was identified as
               "particularly relevant if taken alone" with respect to claims 1, 3, and 4 of the '687
               EP Application. These claims correspond to claims 1, 3, and 18 of the '229
               patent.

       iv)     Patent Abstracts of Japan vol. 9, no. 10 (E-290)(1733), 17 January 1985; & JP -
               A- 59158623 (MATSUSHITA DENKO K.K.) 08.09.1984. This item was
               identified as "particularly relevant if taken alone" with respect to claims 1 and 3
               of the '687 EP Application. These claims correspond to claims 1 and 3 of the
               '229 patent.

       v)      Patent Abstracts of Japan vol. 15, no. 315 (E-1099), 12 August 1991; & JP-A-
               3117020 (NEC CORP) 17.05.1991. This item was identified as "particularly
               relevant if taken alone" with respect to claims 1 and 3 of the '687 EP Application.
               These claims correspond to claims 1 and 3 of the '229 patent.

       vi)     Patent Abstracts of Japan vol. 14, no. 257 (E-936)(4200), 4 June 1990; & JP-A-
               278319 (HITACHI LTD) 19.03.1990. This item was identified as "particularly
               relevant if taken alone" with respect to claims 1 and 3 of the '687 EP Application.
               These claims correspond to claims 1 and 3 of the '229 patent.

       vii)    Patent Abstracts of Japan vol. 14, no. 229 (E-928)(4172), 15 May 1990; & JP - A
               258925 (NEC IC MICROCOMPUT SYST LTD) 28.02.1990. This item was
               identified as "particularly relevant if taken alone" with respect to claims 1 and 3
               of the '687 EP Application. These claims correspond to claims 1 and 3 of the
               '229 patent.

       viii)   EP-A-0 315 473 (TEXAS INSTRUMENTS INCORPORATED). This item was
               identified as "particularly relevant if taken alone" with respect to claims 1-4, 8,
               and 9 of the '687 EP Application. These claims correspond to '229 patent claims
               1-3, 18, 31, and 36.

       ix)     EP-A-0 264 470 (INTERNATIONAL BUSINESS MACHINES
               CORPORATION). This item was identified as "particularly relevant if taken
               alone" with respect to claims 1 and 3 of the '687 EP Application. These claims
               correspond to claims 1 and 3 of the '229 patent.

       x)      US-A-4 707 620 (S.K. SULLIVAN et al.). This item was identified as
               "particularly relevant if taken alone" with respect to claims 1 and 3 of the '687 EP
               Application. These claims correspond to claims 1 and 3 of the '229 patent.

       xi)     Branson, C., A High Performance, 10-Volt Integrated PIN Electronics Driver,
               International Test Conference 1989, August 29-31, 1989, pages 846-853,
               Sheraton Washington Hotel, Washington, US. This item was identified as




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                "particularly relevant if taken alone" with respect to claims 1 and 3 of the '687 EP
                Application. These claims correspond to claims 1 and 3 of the '229 patent.

        xii)    Auto Programming Lumped Load Off-Chip Drivers, IBM Technical Disclosure
                Bulletin, December 1987, pages 23-25, vol. 30, no. 7, Armonk, NY, US. This
                item was identified as "particularly relevant if taken alone" with respect to claims
                1-5, 8, and 9 of the '687 EP Application. These claims correspond to claims 1-3,
                18, 19, 31, and 36 of the '229 patent.
        90.     On information and belief, the '687 Search Report disclosed information that is

 material to the patentability of the claims of the '229 patent. As an example, references (i) and

 (iii) alone, and in combination with the additional references discussed in this section, describe

 all the limitations in claims 1 and 3 of the '229 patent. As such, these two patents are highly

 material to and not cumulative to the patentability of the '229 patent.

        91.     Also, 37 C.F.R. §l.97(e) requires the applicant to indicate in an Information

 Disclosure Statement whether or not prior art was first cited by a foreign patent office, clearly

 putting applicants and their agents on notice that material foreign prior art must be disclosed.

 However, neither the '687 Search Report nor the 12 items of prior art described above were

 disclosed to the U.S.P.T.O. prior to the issuance of the '229 patent.

        92.     The '229 patent was not granted until September 7, 1993, more than a year after

 the '687 Search Report issued on July 31, 1992. Thus, before the issuance of the '229 patent, the

 '229 Applicants and others with a duty to disclose information material to the patentability of the

 '229 patent were in possession of highly material art and did not disclose this art to the

 U.S.P.T.O.

        93.     Additionally, on June 18, 1992, the '765 Applicants (including the '229

 Applicants) filed European Patent Application No. 92305583.4, published as EP0520685 Al

 ("the '685 EP Application"), which is substantially similar to the '765 patent and the '560

 application.

        94.     On October 6, 1992, the European Patent Office issued a search report in

 association with the '685 EP Application ("the '685 Search Report"). The '685 Search Report

 (attached as Exhibit 18) enumerated two items of prior art, of which one was designated with an




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 "X" signifying this item of art was "particularly relevant if taken alone." Further, this item was

 not designated with a "D," meaning it was not cited in the '685 EP Application by the '765

 Applicants. This is the item of prior art:

        i)      Patent Abstracts of Japan vol. 008, no. 153 (P-287), 17 July1984; & JP-A- 59
                051 303 (NIPPON DENSO) 24 March 1984. This item was identified as
                "particularly relevant if taken alone" with respect to claims 1 and 2 of the '685 EP
                Application. Claim 2 of the '684 EP Application corresponds to claim 1 of the
                '765 patent. Also, claim 1 of the '765 patent shares claim limitations with claims
                20, 24, and 42 of the '229 patent.
        95.     On information and belief, the '685 Search Report disclosed information that is

 material to the patentability of the claims of the '229 patent. Further, this information regarding

 the use of a bridge circuit and a comparator to generate signals that change the impedance of

 variable resistance modules, is not cumulative to any of the prior art disclosed in the prosecution

 of the '229 patent. However, neither the '685 Search Report nor the item of prior art described

 above were disclosed to the U.S.P.T.O. during the prosecution that resulted in the '229 patent.

 The '229 patent was not granted until September 7, 1993, more than eleven months after the '685

 Search Report was issued on October 6, 1992. Thus, before the issuance of the '229 patent, the

 '229 Applicants and others with a duty to disclose information material to the patentability of the

 '229 patent were in possession of highly material art and did not disclose this art to the

 U.S.P.T.O.

        96.     On information and belief, the '229 Applicants had a duty to disclose at least the

 art identified above. The failure to identify prior art disclosed to the '229 Applicants and their

 prosecuting counsel at multiple times from many different sources indicates a pattern of

 inequitable conduct. Because the undisclosed items were so highly relevant, to withhold this

 information was a material breach of the duty owed to the U.S.P.T.O.

                (b)    Deliberate Withholding of Material Information Regarding The
                Status and Prosecution of Co-Pending Applications

        97.     Further, on information and belief, during the pendency of the '229 patent, the




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 '229 Applicants and others with a duty to disclose information material to the patentability of the

 '229 patent failed to disclose material information regarding the status and prosecution of co-

 pending applications in related patents identified above. These omissions included, but are not

 limited to, the non-disclosure of office actions, rejections, responses and arguments to office

 actions and rejections, allowances and the reasons for allowance, and art, not necessarily prior

 art, from these co-pending applications that a reasonable examiner would consider to be material

 to the patentability of the '229 patent.

         98.     Thus, on information and belief, the '229 Applicants and others with a duty to

 disclose information material to the patentability of the '229 patent intentionally and specifically

 intended to deceive the U.S.P.T.O. as to the true state of the art so as to induce the U.S.P.T.O. to

 improperly issue the '229 patent. Such conduct was inequitable, rendering each and every claim

 of the '229 patent unenforceable.

         99.     A judicial declaration of unenforceability of the '229 patent is necessary and

 appropriate in order to resolve this controversy.

                                     NINTH CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '431 Patent)

         100.    The allegations contained in paragraphs 1 through 99 are incorporated by

 reference as if fully set herein.

         101.    Defendants claim to be the owner and assignee of all rights, title, and interest in

 and under the '4 31 patent.

         102.    Defendants have accused Plaintiff of infringing the '4 31 patent through its

 manufacture, sale, use, and/or importation of certain integrated circuits, and have asserted that

 Plaintiff must take a license to the '4 31 patent to lawfully continue the manufacture, sale, use,

 and/or importation of these integrated circuits.

         103.    Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these integrated circuits without a

 license to the '431 patent.



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         104.    Defendants have asserted that the '431 patent is within the scope of the PLA

 between Xilinx and AT&T. Defendants have further asserted that they have certain rights under

 the PLA. Defendant Agere has filed an action in the Supreme Court of the State of New York,

 County of New York, for alleged breach of the PLA.

         105.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '431 patent. A valid andjusticiable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         106.    On information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '431 patent, either literally or under the doctrine of

 equivalents.

         107.    A judicial declaration of non-infringement of the '431 patent is necessary and

 appropriate in order to resolve this controversy.

                                     TENTH CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '431 Patent)

         108.    The allegations contained in paragraphs 1 through 107 are incorporated by

 reference as if fully set herein.

         109.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '431 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         110.    On information and belief, the '431 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         111.    A judicial declaration of invalidity of the '431 patent is necessary and appropriate

 in order to resolve this controversy.




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                                  ELEVENTH CAUSE OF ACTION

                  (Declaratory Judgment of Non-Infringement of the '900 Patent)

          112.    The allegations contained in paragraphs 1 through 111 are incorporated by

  reference as if fully set herein.

          113.    Defendants claim to be the owner and assignee of all rights, title, and interest in

  and under the '900 patent.

          114.    Defendants have accused Plaintiff of infringing the '900 patent through its

  manufacture, sale, use, and/or importation of certain software products and/or support tools, and

  have asserted that Plaintiff must take a license to the '900 patent to lawfully continue the

  manufacture, sale, use, and/or importation of these software products and/or support tools.

          115.    Plaintiff has informed Defendants that Plaintiff contends that it has the right to

  engage in the manufacture, sale, use, and/or importation of these software products and/or

  support tools without a license to the '900 patent.

          116.    Under all the circumstances in this dispute, Defendants have, at a minimum,

  created a substantial, immediate, and real controversy among the parties as to the non-

  infringement of the '900 patent. A valid and justiciable controversy has arisen and exists among

  Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

          117.    Upon information and belief, Plaintiff has not directly or indirectly infringed any

  valid and enforceable claims of the '900 patent, either literally or under the doctrine of

  equivalents.

          118.    Ajudicial declaration of non-infringement of the '900 patent is necessary and

  appropriate in order to resolve this controversy.

                                      TWELFTH CAUSE OF ACTION

                       (Declaratory Judgment of Invalidity of the '900 Patent)

          119.    The allegations contained in paragraphs 1 through 118 are incorporated by

 reference as if fully set herein.




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         120.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '900 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         121.    Upon information and belief, the '900 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         122.    A judicial declaration of invalidity of the '900 patent is necessary and appropriate

 in order to resolve this controversy.

                                TIDRTEENTH CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '958 Patent)

         123.    The allegations contained in paragraphs 1 through 122 are incorporated by

 reference as if fully set herein.
         124.    Defendants claim to be the owner and assignee of all rights, title, and interest in

 and under the '958 patent.

         125.    Defendants have accused Plaintiff of infringing the '958 patent through its

 manufacture, sale, use, and/or importation of certain software products, and have asserted that

 Plaintiff must take a license to the '958 patent to lawfully continue the manufacture, sale, use,

 and/or importation of these software products.

         126.    Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these software products without a

 license to the '95 8 patent.

         127.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '958 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.




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         128.    Upon information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '958 patent, either literally or under the doctrine of

 equivalents.

         129.    A judicial declaration of non-infringement of the '958 patent is necessary and

 appropriate in order to resolve this controversy.

                               FOURTEENTH CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '958 Patent)

         130.    The allegations contained in paragraphs 1 through 129 are incorporated by

 reference as if fully set herein.

         131.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '958 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         132.    Upon information and belief, the '958 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         133.    A judicial declaration of invalidity of the '958 patent is necessary and appropriate

 in order to resolve this controversy.

                                 FIFTEENTH CAUSE OF ACTION

                  (Declaratory Judgment of Unenforceability of the '958 Patent)

         134.    The allegations contained in paragraphs 1 through 133 are incorporated by

 reference as if fully set herein.

         135.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the

 unenforceability of the '958 patent. A valid and justiciable controversy has arisen and exists

 among Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         136.    On information and belief, the '958 patent is unenforceable by reason of



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 inequitable conduct committed during the prosecution of the patent before the U.S.P.T.O. While

 the full scope of such inequitable conduct is not now known in its entirety and with precision,

 such conduct includes at least the deliberate withholdings of information from the U.S.P.T.O.

 described below.

        137.    Carlos Dangelo, listed as a named inventor of U.S. Patent 5,222,030, is also a

 named inventor of the '9 5 8 patent.

        138.    During the prosecution of U.S. Patent Application 07/507,201 ("the '201

 application"), which issued as the '030 patent, a co-pending European Patent Application was

 filed with the European Patent Office on April 5, 1991, and was issued application number EP 91

 10 5400 and was later published as O 463 301 A2. This application was substantially similar to

 the '201 application.

        139.    On information and belief, U.S. Patent Application 07/507,201 issued as U.S.

 Patent 5,222,030 on June 22, 1993. Subsequent to the issuance of the '030 patent, the European

 Patent Office prepared a search report for application EP 91 10 5400, which was completed on

 April 26, 1994, and assigned publication number O463 301 A3. In accordance with European

 Patent Office procedure, a copy of this report was delivered to the representatives of the named

 inventors of the '030 patent and received during the pendency of the prosecution of the '958

 patent. The search report listed three references:

        i)      Lagnese et al., Architectural Planning for System Level Design ("the Lagnese
                reference").

        ii)     Lis et al., VHDL Synthesis Using Structured Modeling ("the Lis reference").

        iii)    McFarland et al., The High-Level Synthesis of Digital Systems ("the McFarland
                reference").


        140.    Prior to the issuance of the European search report on EP 91 10 5400 on April 26,

 1994, at least eight U.S. Patent Applications were filed that were either continuations or




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 continuations-in-part from the original '201 application. These applications and their issued

 patents are:

           i)      08/054,053 (abandoned).

           ii)     08/077,294 (U.S. Patent 5,544,067.)

           iii)    08/076,728 (U.S. Patent 5,541,849.)

           iv)     08/076,729 (U.S. Patent 5,544,066.)

           v)      08/077,304 (U.S. Patent 5,623,418.)

           vi)     08/077,403 (U.S. Patent 5,553,002.)

           vii)    08/076,738 (U.S. Patent 5,557,531.)

           viii)   08/196,337 (U.S. Patent 5,555,201, or "the '201 patent").

 Subsequent to the issuance of the search report on EP 91 10 5400, at least two more U.S. Patent

 Applications were filed in the same patent family. U.S. Application 08/355,105 was filed on

 December 13, 1994, which was a continuation from 08/054,053, and eventually issued as U.S.

 Patent 5,526,277. U.S. Application 08/707,918 was filed on September 10, 1996 as a

 continuation from 08/196,337 and a continuation-in-part from applications 08/076,728;

 08/076,729; 08/077,304; 08/077,403; and 08/076,738, and eventually issued as the '958 patent.

           141.    On information and belief, the Lagnese reference was disclosed to the U.S.P.T.O.

 on each of the co-pending or later-filed patent applications. The Lis and McFarland references,

 however, were not disclosed on any of the co-pending or later-filed patent applications described

 in the preceding paragraphs; most specifically, the application that eventually issued as the '958

 patent.

           142.    On information and belief, the Lis and McFarland references were disclosed on at

 least one other U.S. Patent Application, 08/742,359, which was also a member of the '030 patent

 family. Application 08/742,359 was filed on November 1, 1996 and issued as U.S. Patent

 5,870,308 ("the '308 patent"). However, the Lagnese reference was not disclosed during the

 prosecution of the '308 patent.




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         143.   On information and belief, the Lis and McFarland references are material to the

 prosecution of the '958 patent, as well as other patents in the patent family, and are not

 cumulative. Both references are relevant to the patentability of the claimed '958 invention under

 35 U.S.C. §§ 102, 103 as relevant prior art. The McFarland reference is especially material in

 that it describes the use of "control and data flow" information as part of the ECAD methodology

 that is recited as a limitation in claims 1-22 and 32-40 of the '958 patent.

         144.   The immediate parent application to the '958 patent, via continuation, was issued

 as the '201 patent. The '958 patent and the '201 patent contain the same specification and

 named inventors. During prosecution of the '201 patent, the '958 applicants disclosed references

 to the U.S.P.T.O. that they did not disclose to the U.S.P.T.O. during the prosecution of the '958

 patent. These references include the following:

        i)      Thacker et al., Chip Simulation Is All A Matter of Image, ESD: The Electronic
                System Design Magazine, November 1988, pp. 65-70.

         ii)    Beaverton, Here's Software To Speed Vector Creation, Electronics, May 1989,
                pp. 48-52.

        iii)    Handley, The CAR System: Multimedia In Support Of Collaborative Design,
                IEEE Colloquium on 'Multimedia and Professional Applications', Digest No.
                026, January 5, 1993, p. 8.

         iv)    Pendergast et al., Coordination And Control For Collaborative Workstation
                Design, 1991, Cambridge Univ. Pres., vii+ 456 pages.

        v)      Muller, PICTIVE-An Exploration In Participatory Design, Conference
                Proceedings, CHI 91, 1991, pp. 255-231.

        vi)     Dubois, Prototyping Approach Of Multi-Actors Computer Aided Design For
                Buildings In The Frame Of The CIBAO Project, EuropIA, 1990, pp. 338-350.


 Upon information and belief, if these six references were considered by the '958 applicants to be

 material and not cumulative for the '201 patent then they are material and not cumulative for the

 '958 patent.




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        145.    The '030 patent family has a long prosecution history that includes numerous

 double patenting rejections. These double patenting rejections were cured by terminal

 disclaimers in the '201 parent patent to the '958 patent, as well as at least six of the grandparent

 and great-grandparent patents to the '958 patent. Although the '958 patent is not subject to a

 terminal disclaimer, on information and belief, it should have received a double patenting

 rejection during prosecution for at least the similarities between claim 17 of the '201 patent and

 claim 32 of the '958 patent. Claim 17 of the '201 patent recites:
        A method of creating an electronic design on an ECAD system having a
        computer, a database accessible to the computer, design tools running on the
        computer, and a display device and one or more input devices enabling a user to
        interact with the computer, comprising:
                displaying, on a display device of a computer, the display device having a
                display screen, a control and dataflow graph representation of an
                electronic design, the control and dataflow graph being at a given
                hierarchical level of abstraction, the control and dataflow graph
                containing at least one object;
                storing in the database information relating to the electronic design at
                various levels of abstraction;
                retrieving information relating to the electronic design from a database
                accessible to the computer;
                displaying the information contemporaneously with displaying the control
                and dataflow graph; and
                providing selectable lower level representations of objects represented in
                the control and dataflow graph.
 And claim 32 of the '958 patent recites:

        A method of creating an electronic design on a system having an accessible
        database, design tools, and a display device and one or more input devices
        enabling a user to interact with the system, comprising:
               displaying a control and dataflow graph representation of an electronic
               design, the control and dataflow graph being at a given hierarchical level
               of abstraction;
               storing in the accessible database information relating to the electronic
               design at various levels of abstraction;
               retrieving information relating to the electronic design from the accessible
               database;
               displaying the information contemporaneously with displaying the control
               and dataflow graph; and
               providing selectable representations of objects represented in the control
               and dataflow graph.




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        146.    On information and belief, given the similarities in the claimed subject matter

 among the '958 patent, its parent the '201 patent, and other patents in the '030 family, any

 references and other materials that would be deemed material and not cumulative in the

 prosecution of the '201 patent.and other patents in the '030 family would be considered highly

 relevant, material and not cumulative by an examiner in the prosecution of the '958 patent.

        147.    In addition to descending from the '030 patent, the '958 patent also descended

 from U.S. Patent Application 07/512,129. The 07/512,129 application was eventually

 abandoned, but a subsequent continuation, application 07/917,801 eventually issued as U.S.

 Patent 5,220,512 (''the '512 patent"). The '958 and '512 patents share Daniel Watkins as a

 named inventor. During the prosecution of the '512 patent, the applicants, Watkins et al.,

 disclosed 16 references to the U.S.P.T.O. that were not disclosed during the prosecution of the

 '958 patent, including:

        U.S. Patent Nos. 4,527,249; 4,653,090; 4,694,411; 4,775,950; 4,791,593; 4,815,016;
        4,839,821; 4,852,015; 4,855,726; 4,855,929; 4,858,143; 4,868,770; and 4,873,647.

        D.K. Lynn, Computer Aided Design for LSI circuits, Computer (May/Jun. 1972), pp. 36-
        45.

        Tektronix, Tek Products 1988: Design Automation Products, 1987, pp. 83-90.

        DAS, An Automated System to Support Design Analysis, IEEE Con£. Circuits, Systems
        & Computers, 1978, pp. 646-650.

        148.    On information and belief, between the time the application for the '030 patent

 was filed and the '958 patent issued, Carlos Dangelo, the only common named inventor among

 the '030, '277, and '958 patents, and the other named co-inventors had approximately 41 other

 applications co-pending that resulted in issued patents. Of those 41 patents, approximately 19

 were from the '030 patent family or related to similar claimed inventions and include the

 following:

        U.S. Patent No. 6,470,482      Method and system for creating, deriving and validating
                                       structural description of electronic system from higher




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                                   level, behavior-oriented description including interactive
                                   schematic design and simulation

       U.S. Patent No. 6,324,678   Method and system for creating and validating low level
                                   description of electronic design

       U.S. Patent No. 6,216,252   Method and system for creating, validating, and scaling
                                   structural description of electronic device

       U.S. Patent No. 5,933,356   Method and system for creating and verifying structural
                                   logic model of electronic design from behavioral
                                   description, including generation of logic and timing
                                   models

       U.S. Patent No. 5,910,897   Specification and design of complex digital systems

       U.S. Patent No. 5,907,494   Computer system and method for performing design
                                   automation in a distributed computing environment

       U.S. Patent No. 5,880,971   Methodology for deriving executable low-level structural
                                   descriptions and valid physical implementations of circuits
                                   and systems from semantic specifications and descriptions
                                   thereof

       U.S. Patent No. 5,870,308   Method and system for creating and validating low-level
                                   description of electronic design

       U.S. Patent No. 5,867,399   System and method for creating and validating structural
                                   description of electronic system from higher-level and
                                   behavior-oriented description

       U.S. Patent No. 5,598,344   Method and system for creating, validating, and scaling
                                   structural description of electronic device

       U.S. Patent No. 5,572,437   Method and system for creating and verifying structural
                                   logic model of electronic design from behavioral
                                   description, including generation oflogic and timing
                                   models

       U.S. Patent No. 5,572,436   Method and system for creating and validating low level
                                   description of electronic design

       U.S. Patent No. 5,557,531   Method and system for creating and validating low level
                                   structural description of electronic design from higher
                                   level, behavior-oriented description, including estimating
                                   power dissipation of physical implementation




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        U.S. Patent No. 5,555,201     Method and system for creating and validating low level
                                      description of electronic design from higher level,
                                      behavior-oriented description, including interactive system
                                      for hierarchical display of control and dataflow information

        U.S. Patent No. 5,553,002     Method and system for creating and validating low level
                                      description of electronic design from higher level,
                                      behavior-oriented description, using milestone matrix
                                      incorporated into user-interface

        U.S. Patent No. 5,544,067     Method and system for creating, deriving and validating
                                      structural description of electronic system from higher
                                      level, behavior-oriented description, including interactive
                                      schematic design and simulation
        U.S. Patent No. 5,544,066     Method and system for creating and validating low level
                                      description of electronic design from higher level,
                                      behavior-oriented description, including estimation and
                                      comparison of low-level design constraints

        U.S. Patent No. 5,541,849     Method and system for creating and validating low level
                                      description of electronic design from higher level,
                                      behavior-oriented description, including estimation and
                                      comparison of timing parameters

        U.S. Patent No. 5,493,508     Specification and design of complex digital systems

 The references disclosed from these 19 patents include approximately 47 references that were

 not disclosed during the prosecution of the '958 patent. These references include:

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        149.    Gerald E. Linden was the patent agent ofrecord for the '030 patent family until

 June, 1994, when the power of attorney was transferred to the firm of Porns, Smith, Lande &

 Rose. Gerald E. Linden was the agent of record when the European search report on the EP 91

 10 5400 application was issued on 4/26/1994.

        150.    On information and belief, during prosecution of the '958 patent, as well as the

 other applications in the same patent family, the '958 Applicants and their agents at Porns,

 Smith, Lande, and Rose, including Steven E. Shapiro and David G. Alexander, were under a




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 duty to disclose to the U.S.P.T.O. the Lis and McFarland references, once they were brought to

 the '958 Applicants' attention by the European search report.

         151.   On information and belief, the '958 Applicants and their agents at Porns, Smith,

 Lande, and Rose, including Steven E. Shapiro and David G. Alexander, knew, or should have

 known, that the Lis and McFarland references were material to the patentability of the '953

 patent as well as the other applications in the same patent family. The '958 Applicants

 demonstrated this duty during its prosecution of the '308 patent.

         152.   On information and belief, the '958 Applicants and their agents at Porns, Smith,

 Lande, and Rose, including Steven E. Shapiro and David G. Alexander, failed to disclose the Lis

 and McFarland references during the prosecution of the '953 patent's application as well as the

 other applications in the same patent family.

         153.    On information and belief, the '958 Applicants and their agents at Porns, Smith,

 Lande, and Rose, including Steven E. Shapiro and David G. Alexander, failed to disclose other

 material and not cumulative references during the prosecution of the '958 patent as described in

 the preceding paragraphs.

         154.    On information and belief, during the pendency of the '958 patent, the '958

 Applicants and their agents at Porns, Smith, Lande, and Rose, including Steven E. Shapiro and

 David G. Alexander, had a duty to disclose information material to the patentability of the '958

 patent and failed tci disclose material information regarding the status and prosecution of co-

 pending applications in related patents identified above. These omissions included, but are not

 limited to, the non-disclosure of office actions, rejections, responses and arguments to office

 actions and rejections, allowances and the reasons for allowance, and art, not necessarily prior

 art, from these co-pending applications that a reasonable examiner would consider to be material

 to the patentability of the '958 patent.

         155.    On information and belief, the '958 Applicants and their agents at Porns, Smith,

 Lande, and Rose, including Steven E. Shapiro and David G. Alexander, had a duty to disclose

 information material to the patentability of the '958 patent and failed to disclose the Lis,



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 McFarland, and other references identified above during the prosecution of the '953 patent, as

 well as the other applications in the same patent family, with the intent to deceive the U.S.P.T.O.

 and to facilitate issuance of the '958 patent, as well as other patents.

         156.    On information and belief, the '958 Applicants and their agents at Porns, Smith,

 Lande, and Rose, including Steven E. Shapiro and David G. Alexander, actions and inaction

 described herein constitute inequitable conduct. As a result of such conduct, each and every

 claim of the '958 patent are rendered unenforceable.

         157.    A judicial declaration of unenforceability of the '958 patent is necessary and

 appropriate in order to resolve this controversy.

                                 SIXTEENTH CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '277 Patent)

         158.    The allegations contained in paragraphs 1 through 157 are incorporated by

 reference as if fully set herein.

         159.    Defendants claim to be the owner and assignee of all rights, title, and interest in

 and under the '277 patent.

         160.    Defendants have accused Plaintiff of infringing the '277 patent through its

 manufacture, sale, use, and/or importation of certain software products, and have asserted that

 Plaintiff must take a license to the '277 patent to lawfully continue the manufacture, sale, use,

 and/or importation of these software products.

         161.    Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these software products without a

 license to the '277 patent.

         162.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '277 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of28 U.S.C. § 2201.




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         163.    Upon information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '277 patent, either literally or under the doctrine of

 equivalents.

         164.    A judicial declaration of non-infringement of the '277 patent is necessary and

 appropriate in order to resolve this controversy.

                               SEVENTEENTH CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '277 Patent)

         165.    The allegations contained in paragraphs 1 through 164 are incorporated by

 reference as if fully set herein.

         166.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '2 77 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         167.    Upon information and belief, the '277 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         168.    A judicial declaration of invalidity of the '277 patent is necessary and appropriate

 in order to resolve this controversy.

                                EIGHTEENTH CAUSE OF ACTION

                  (Declaratory Judgment of Unenforceability of the '277 Patent)

         169.    The allegations contained in paragraphs 1 through 168 are incorporated by

 reference as if fully set herein.

         170.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the

 unenforceability of the '277 patent. A valid and justiciable controversy has arisen and exists

 among Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         171.    On information and belief, the '277 patent is unenforceable by reason of



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 inequitable conduct committed during the prosecution of the patent before the U.S.P.T.O. While

 the full scope of such inequitable conduct is not now known in its entirety and with precision,

 such conduct includes at least the deliberate withholding of information from the U.S.P.T.O.

 described below.

         172.    The allegations contained in paragraphs 134 through 157 related to the

 unenforceability of the '958 patent due to inequitable conduct are incorporated by reference as if

 fully set herein.

         173.    On information and belief, the Lagnese reference was disclosed to the U.S.P.T.O.

 during the prosecution of the '277 patent. The Lis and McFarland references, however, were not

 disclosed on any of the co-pending or later-filed patent applications described in the preceding

 paragraphs; most specifically, the application that eventually issued as the '277 patent. ·

         174.    On information and belief, the Lis and McFarland references are material to the

 prosecution of the '277 patent. Both references are relevant to the patentability of the '277

 patent under 35 U.S.C. §§ 102 and 103 as relevant prior art. The Lis and McFarland references

 describe prior art ECAD systems that include VSS and Mimola, among others. These systems

 alone, and in combination, describe all of the software tools recited in each of the independent

 claims 1, 12, 15, 19, 22, and 23 of the '277 patent. As such, the Lis and McFarland are highly

 material and not cumulative to the patentability of the '277 patent.

         175.    On information and belief, between the time the application for the '030 patent

 was filed and the '277 patent issued, Carlos Dangelo, the only common named inventor among

 the '030, '277, and '958 patents, and the other named co-inventors (collectively "the '277

 Applicants") had numerous other applications co-pending that resulted in issued patents. The

 references disclosed from these patents include numerous references that were not disclosed

 during the prosecution of the '277 patent.

         176.    On information and belief, during prosecution of the '277 patent as well as the

 other applications in the same patent family, the '277 Applicants, Gerald E. Linden, and the

 prosecuting attorneys at Porns, Smith, Lande, and Rose, including, David G. Alexander, were



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 under a duty to disclose to the U.S.P.T.O. the Lis and McFarland references once those

 references were brought to '277 Applicants' attention by the European search report.

         177.   On information and belief, the '277 Applicants, Gerald E. Linden, and the

 prosecuting attorneys at Porns, Smith, Lande, and Rose, including, David G. Alexander, knew, or

 should have known, that the Lis and McFarland references were material to the patentability of

 the '277 patent as well as the other applications in the same patent family. The '277 Applicants,

 Gerald E. Linden, and the prosecuting attorneys at Porns, Smith, Lande, and Rose demonstrated

 this duty during prosecution of the '308 patent.

         178.    On information and belief, during the pendency of the '277 patent, the '277

 Applicants, Gerald E. Linden, and the prosecuting attorneys at Porns, Smith, Lande, and Rose,

 including, David G. Alexander, had a duty to disclose information material to the patentability of

 the '277 patent and failed to disclose material information regarding the status and prosecution of

 co-pending applications in related patents identified above. These omissions included, but are

 not limited to, the non-disclosure of office actions, rejections, responses and arguments to office

 actions and rejections, allowances and the reasons for allowance, and art, not necessarily prior

 art, from these co-pending applications that a reasonable examiner would consider to be material

 to the patentability of the '277 patent.

         179.    On information and belief, the '277 Applicants, Gerald E. Linden, and the

 prosecuting attorneys at Porns, Smith, Lande, and Rose, including, David G. Alexander, had a

 duty to disclose information material to the patentability of the '277 patent and failed to disclose

 the Lis, McFarland, and other references identified above during the prosecution of the '277

 patent, as well as the other applications in the same patent family, with the intent to deceive the

 U.S.P.T.O. and to facilitate issuance of the '277 patent, as well as other patents.

         180.    Thus, on information and belief, the '277 Applicants, Gerald E. Linden, and the

 prosecuting attorneys at Porns, Smith, Lande, and Rose, including, David G. Alexander, had a

 duty to disclose information material to the patentability of the '277 patent and intentionally and

 specifically intended to deceive the U.S.P.T.O. as to the true state of the art so as to induce the



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 U.S.P.T.O. to improperly issue the '277 patent. Such conduct was inequitable, rendering each

 and every claim of the '277 patent unenforceable.

         181.    Ajudicial declaration ofunenforceability of the '277 patent is necessary and

 appropriate in order to resolve this controversy.

                                NINETEENTH CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '700 Patent)

         182.    The allegations contained in paragraphs 1 through 181 are incorporated by

 reference as if fully set herein.

         183.    Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under the '700 patent.

         184.    Defendants have accused Plaintiff of infringing the '700 patent through its

 manufacture, sale, use, and/or importation of certain hardware products and/or integrated

 circuits, and have asserted that Plaintiff must take a license to the '700 patent to lawfully

 continue the manufacture, sale, use, and/or importation of the accused integrated circuits.

         185.    Plaintiff has informed Defendants that Plaintiff contends it has the right to engage

 in the manufacture, sale, use, and/or importation of these hardware products and/or integrated

 circuits without a license to the '700 patent.

         186.    Defendants have asserted that the '700 patent is within the scope of the PLA

 between Xilinx and AT&T. Defendants have further asserted that they have certain rights under

 the PLA. Defendant Agere has filed an action in the Supreme Court of the State of New York,

 County of New York, for alleged breach of the PLA.

         187.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '700 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.




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         188.    On information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '700 patent, either literally or under the doctrine of

 equivalents.

         189.    A judicial declaration of non-infringement of the '700 patent is necessary and

 appropriate in order to resolve this controversy.

                                TWENTIETH CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '700 Patent)

         190.    The allegations contained in paragraphs 1 through 189 are incorporated by

 reference as if fully set herein.

         191.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '700 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of28 U.S.C. § 2201.

         192.    On information and belief, the '700 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         193.    A judicial declaration of invalidity of the '700 patent is necessary and appropriate

 in order to resolve this controversy.

                              TWENTY-FIRST CAUSE OF ACTION

                  (Declaratory Judgment of Unenforceability of the '700 Patent)

         194.    The allegations contained in paragraphs 1 through 193 are incorporated by

 reference as if fully set herein.

         195.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the

 unenforceability of the '700 patent. A valid and justiciable controversy has arisen and exists

 among Plaintiff and Defendants within the meaning of28 U.S.C. § 2201.




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        196.    On information and belief, the '700 patent is unenforceable by reason of

 inequitable conduct committed during the prosecution of the patent before the U.S.P.T.O. While

 the full scope of such inequitable conduct is not now known in its entirety and with precision,

 such conduct includes at least the deliberate withholdings of information from the U.S.P.T.O.

 described below.

         197.   On information and belief, during the prosecution of the '700 patent, the named

 inventor, Mr. Morris, had various issued patents ("Morris patents") or co-pending applications

 that were relevant to the claimed subject matter of the '700 patent. Despite their relevance,

 neither Mr. Morris, nor others with a duty of disclosure to the U.S.P.T.O., disclosed the other

 Morris patents and co-pending applications to the examiner of the '700 patent.

         198.   For example, on information and belief, Mr. Morris had a co-pending application

 (issued as U.S. Patent No. 6,396,315 ("the '315 patent"), included herewith as Exhibit 17) that

 was directly relevant to the claims of the '700 patent. Where claim 1 of the '700 patent generally

 relates to an integrated circuit having a buffer, core logic, and a blocking circuit that presents a

 high impedance state at the output of the IC when the core logic is not powered, the '315 patent

 addressed the same issues. (Compare the '700 patent, claim 1, with the '315 patent, Field of the

 Invention.) The '315 patent, for example, describes that it "relates to buffers ... presenting a

 high impedance when the electronic device is in an inoperable state." (the '315 patent at 1:5-

 11.) However, no individual with a duty of disclosure to the U.S.P.T.O., including the

 prosecuting attorneys and the named inventor, disclosed the '315 patent to the examiner of the

 '700 patent.

         199.   On information and belief, Mr. Morris had other co-pending applications and

 issued patents that may also relate to the subject matter claimed in the '700 patent but that were

 also not disclosed during prosecution of the '700 patent, including:

        U.S. Patent No. 6,087,853       Controlled output impedance buffer using CMOS
                                        technology

        U.S. Patent No. 6,064,231       CMOS input buffer protection circuit



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        U.S. Patent No. 6,064,229      Voltage translating buffer based on low voltage technology

        U.S. Patent No. 6,014,039      CMOS high voltage drive output buffer

        U.S. Patent No. 5,973,530      Low power, high voltage-tolerant bus holder circuit in low
                                       voltage technology

        U.S. Patent No. 5,952,848      High-voltage tolerant input buffer in low-voltage
                                       technology

        U.S. Patent No. 5,933,027      High-voltage-tolerant output buffers in low-voltage
                                       technology

        U.S. Patent No. 5,926,056      Voltage tolerant output buffer

        U.S. Patent No. 5,808,480      High voltage swing output buffer in low voltage technology

        U.S. Patent No. 5,502,328      Bipolar ESD protection for integrated circuits

        U.S. Patent No. 5,381,062      Multi-voltage compatible bidirectional buffer

        U.S. Patent No. 5,334,885      Automatic control of buffer speed

        U.S. Patent No. 5,304,867      CMOS input buffer with high speed and low power

        U.S. Patent No. 5,304,839      Bipolar ESD protection for integrated circuits

        U.S. Patent No. 4,912,347      CMOS to ECL output buffer

        200.    Moreover, on information and belief, the prior art cited during the prosecution of

 the above-listed patents was also not disclosed during the prosecution of the '700 patent,

 including the following printed patents and publications:

        U.S. Pat. Nos. 4,210,829, 4,437,024, 4,437,171, 4,471,242, 4,533,842, 4,612,461,
        4,645,951, 4,656,372, 4,656,375, 4,672,243, 4,691,127, 4,701,642, 4,704,547, 4,717,869,
        4,719,369, 4,739,193, 4,791,323, 4,806,801, 4,806,999, 4,814,853, 4,821,089, 4,823,029,
        4,825,106, 4,959,563, 4,963,766, 4,968,902, 4,972,101, 4,975,598, 4,992,753, 4,994,874,
        5,004,936, 5,017,807, 5,029,284, 5,036,226, 5,072,273, 5,095,231, 5,111,081, 5,117,131,
        5,138,413, 5,144,167, 5,151,622, 5,254,883, 5,278,460, 5,300,832, 5,378,945, 5,382,847,
        5,408,191, 5,414,314, 5,418,476, 5,432,462, 5,432,467, 5,440,249, 5,457,407, 5,483,176,
        5,512,844, 5,534,795, 5,559,447, 5,559,464, 5,563,539, 5,606,268, 5,629,634, 5,635,861,
        5,656,951, 5,670,898, 5,684,415, 5,723,992, 5,729,157, 5,731,714, 5,736,869, 5,748,010,
        5,764,077, 5,828,231, 5,834,948, 5,864,243, 5,892,371, 5,892,377, 5,903,180, and
        5,923,184.




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         European Pat. Nos. 0690587Al, 0184875, 0264470, and 125733; Japanese Pat. Nos. 4-
         78221, 4051712; UK Pat. No. 2176053; and German Pat. No. 3626394.

         Roubik Gregorian & Gabor C. Ternes, Analog MOS Integrated Circuits for Signal
         Processing, 1986, pp. 141-143, A Wiley-Interscience Publication, John Wiley & Sons.

         Anonymous, Fast Level Converter Circuit, IBM Technical Disclosure Bulletin, May
         1987, p. 5167, vol. 29 No. 12, New York.

         Yusuke Ohtomo, et al., A Quarter-micron SIM OX-CMOS LVTTL-compatible Gate
         Array With an Over 2,000 V ESB-protection Circuit, Proceedings of the IEEE 1996
         Custom Integrated Circuits Conference (CICC), San Diego, May 1996, pp. 57-60.

         Takahashi et al., 3.3V-5V Compatible 1/0 Circuit without Thick Gate Oxide, IEEE 1992
         Custom Integrated Circuits Conference, May 1992, pp. 23.3.1-23.3.4.

         H. Partovi et al., 1991 Symposium on VLSI Circuits, Digest of Technical Papers, May
         30, 1991, OISO pp. 51-52: Noise Suppression Techniques for Logic and Memory
         Circuits.

         Yasuhiro Sugimot & Hiroyuki Hara, Extended Abstracts, Bi-CMOS Interface Circuit in
         Mixed CMOS/TTL and ECL Use Environment, vol. 87-1, Abstract No. 273, Toshiba
         Corporation, Semiconductor Division.

         Edwin L. Hudson & Stephen L. Smith, Session XVIII: Static RAMs, Faml8.l: An ECL
         Compatible 4K CMOS RAM, Intel Corp., Santa Clara, California, ISSCC 82/ Friday,
         Feb. 12, 1982/Continental Ballrooms 5-9/9:00 a.m.

         K. Ogiue, M. Odaka, S. Miyaoka, I. Masuda, T. Ikeda & K. Tonomura, 13-ns, 500-mW,
         64-kbit ECL RAM Using Hi-BICMOS Technology, 1986, 0018-9200/86/10-00-0681
         $01.00, pp. 681 and 683, IEEE.



         201.    On information and belief, during the pendency of the '700 patent, the '700

  Applicant and others with a duty to disclose information material to the patentability of the '700

  patent failed to disclose material information regarding the status and prosecution of co-pending

  applications in related patents identified above. These omissions included, but are not limited to,

  the non-disclosure of office actions, rejections, responses and arguments to office actions and

  rejections, allowances and the reasons for allowance, and art, not necessarily prior art, from these




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 co-pending applications that a reasonable examiner would consider to be material to the

 patentability of the '700 patent.

         202.    On information and belief, the Applicant, Mr. Morris, had a duty to disclose

 relevant co-pending and issued patents on which he was a named inventor and had a duty to

 disclose at least the relevant art identified above, which were presented to Mr. Morris during

 prosecution of his other co-pending patent applications and issued patents. Moreover, others

 with a duty to disclose, including the prosecuting attorneys, also failed to disclose relevant

 information and prior art. Because the undisclosed items were relevant, to withhold this

 information was a material breach of the duty owed to the U.S.P.T.O.

         203.    On information and belief, Mr. Morris and others with a duty to disclose

 information material to the patentability of the '700 patent intentionally and specifically intended

 to deceive the U.S.P.T.O. as to the true state of the art so as to induce the U.S.P.T.O. to

 improperly issue the '700 patent. Such conduct was inequitable rendering each and every claim

 of the '700 patent unenforceable.

         204.    A judicial declaration ofunenforceability of the '700 patent is necessary and

 appropriate in order to resolve this controversy.

                             TWENTY-SECOND CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '001 Patent)

         205.    The allegations contained in paragraphs 1 through 204 are incorporated by

 reference as if fully set herein.

         206.    Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under the '001 patent.

         207.    Defendants have accused Plaintiff of infringing the '001 patent through its

 manufacture, sale, use, and/or importation of certain software products and/or integrated circuits,

 and have asserted that Plaintiff must take a license to the '001 patent to lawfully continue the

 manufacture, sale, use, and/or importation of these integrated circuits.

         208.    Plaintiff has informed Defendants that Plaintiff contends that it has the right to



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 engage in the manufacture, sale, use, and/or importation of these software products and/or

 integrated circuits without a license to the '001 patent.

         209.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '001 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         210.    On information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '001 patent, either literally or under the doctrine of

 equivalents.

         211.    A judicial declaration of non-infringement of the '001 patent is necessary and

 appropriate in order to resolve this controversy.

                              TWENTY-TIDRD CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '001 Patent)

         212.    The allegations contained in paragraphs 1 through 211 are incorporated by

 reference as if fully set herein.

         213.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '001 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         214.    On information and belief, the '001 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         215.    A judicial declaration of invalidity of the '001 patent is necessary and appropriate

 in order to resolve this controversy.

                            TWENTY-FOURTH CAUSE OF ACTION

                 (Declaratory Judgment of Unenforceability of the '001 Patent)

         216.    The allegations contained in paragraphs 1 through 215 are incorporated by



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 reference as if fully set herein.

         21 7.   Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the

 unenforceability of the '001 patent. A valid and justiciable controversy has arisen and exists

 among Plaintiff and Defendants within the meaning of28 U.S.C. § 2201.

         218.    On information and belief, the '001 patent is unenforceable by reason of

 inequitable conduct committed during the prosecution of the patent before the U.S.P.T.O. While

 the full scope of such inequitable conduct is not now known in its entirety and with precision,

 such conduct includes at least the following deliberate withholdings of information from the

 U.S.P.T.O.

         219.    On information and belief, during the prosecution of the '001 patent, the named

 inventor, Mr. Graef, had various issued patents ("Graef patents") and co-pending patent

 applications that were relevant to the claimed subject matter of the '001 patent. Despite their

 relevance, neither Mr. Graef, nor others with a duty of disclosure to the U.S.P.T.O., disclosed the

 Graef patents and relevant co-pending patent applications to the examiner of the '001 patent.

         220.    For example, on information and belief, Mr. Graef had a co-pending application

 (issued as U.S. Patent No. 6,457,160 ("the' 160 patent")) that was directly relevant to the claims

 of the '001 patent. Where claim 1 of the '001 patent generally relates to partitioning an

 integrated circuit and generating a clock budgeting plan, the '160 patent addressed the same

 issues. (See the '001 patent, claim 1) The '160 patent describes that ''partitioning of the entire

 circuit into blocks results in a two-level block hierarchy" (the '160 patent at 2:63-64) and issues

 related to "problems with time budgeting and block management." (the '160 patent at 8:53-54)

 But no one with a duty of disclosure to the U.S.P.T.O., including the prosecuting attorneys and

 the named inventor, disclosed the '160 patent to the examiner of the '001 patent. Moreover,

 where the examiner of the' 160 patent found certain relevant items of prior art, including U.S.

 Patent No. 5,867,399, which was assigned to LSI and was purportedly invented by Michael D.

 Rostoker, a then-vice president of LSI as well as a then-registered patent attorney, and Daniel R.



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 Watkins, a then-LSI employee, such prior art was not disclosed to the examiner of the '001

 patent. The '339 patent actually claims ''partitioning said circuit design into a plurality of

 functional block representations" ('339 patent, claim 15) and "determining a high-level timing

 criteria for said circuit design" ('339 patent, claim 17 dependent from claim 15) in a similar way

 to the claims of the '001 patent. Accordingly, LSI, through Mr. Graef and the prosecuting

 attorneys, as well as through Messrs. Rostoker and Watkins, had information relevant to the

 patentability of the '001 patent that was not disclosed to the examiner of the '001 patent.

        221.    On information and belief, Mr. Graef had other co-pending applications and

 issued patents that related to partitioning and timing issues as claimed in the '001 patent but were

 not disclosed during its prosecution, including:

        U.S. Patent No. 6,766,499      Buffer cell insertion and electronic design automation

        U.S. Patent No. 6,687,661      Utilizing a technology-independent system description
                                       incorporating a metal layer dependent attribute

        U.S. Patent No. 6,634,014      Delay/load estimation for use in integrated circuit design

        U.S. Patent No. 6,598,213       Static timing analysis validation tool for ASIC cores

        U.S. Patent No. 6,546,538      Integrated circuit having on-chip capacitors for supplying
                                       power to portions of the circuit requiring high-transient
                                       peak power

        U.S. Patent No. 6,532,576       Cell interconnect delay library for integrated circuit design

        U.S. Patent No. 6,502,230       Circuit modeling

        U.S. Patent No. 6,457,160      Iterative prediction of circuit delays

        U.S. Patent No. 6,189,131       Method of selecting and synthesizing metal interconnect
                                        wires in integrated circuits

        U.S. Patent No. 6,184,711      Low impact signal buffering in integrated circuits

        U.S. Patent No. 6,101,329      System for comparing counter blocks and flag registers to
                                       determine whether FIFO buffer can send or receive data




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        U.S. Patent No. 6,083,269      Digital integrated circuit design system and methodology
                                       with hardware

        U.S. Patent No. 5,974,248      Intermediate test file conversion and comparison

        U.S. Patent No. 5,898,705      Method for detecting bus shorts in semiconductor devices

        U.S. Patent No. 5,831,993      Method and apparatus for scan chain with reduced delay
                                       penalty


        222.    Moreover, on information and belief, the prior art cited during the prosecution of

 the above-listed patents was also not disclosed during the prosecution of the '001 patent,

 including:
        U.S. Patent Nos. 4,030,078, 4,085,438, 4,175,287, 4,378,620, 4,713,773, 4,859,870,
        5,053,980, 5,084,841, 5,111,413, 5,207,103, 5,247,455, 5,249,271, 5,305,253, 5,306,867,
        5,323,401, 5,341,049, 5,365,485, 5,371,851, 5,384,710, 5,384,744, 5,390,193, 5,396,435,
        5,404,452, 5,446,742, 5,448,606, 5,452,227, 5,455,928, 5,475,611, 5,475,695, 5,487,018,
        5,493,672, 5,500,804, 5,504,440, 5,513,188, 5,513,224, 5,517,506, 5,528,508, 5,530,372,
        5,535,223, 5,539,336, 5,541,849, 5,544,071, 5,557,575, 5,559,997, 5,568,395, 5,581,475,
        5,610,833, 5,623,418, 5,629,860, 5,640,404, 5,644,581, 5,666,290, 5,668,745, 5,671,150,
        5,672,966, 5,691,662, 5,694,402, 5,706,294, 5,712,992, 5,729,467, 5,737,580, 5,757,208,
        5,758,075, 5,761,080, 5,802,052, 5,808,330, 5,831,870, 5,883,814, 5,901,063, 5,933,356,
        5,946,211, 5,949,638, 5,999,016, 6,066,177, 6,131,182, 6,145,117, 6,173,435, 6,184,711,
        6,216,252, 6,218,729, 6,258,733, 6,286,126, 6,347,393, 6,363,516, 6,378,109, 6,446,239,
        6,499,131, 6,507,935, 6,532,576, 6,536,022, and 6,546,541.
        European Patent Publication EP O 507 571 A2.
        Japanese Patent Publications JP 09091333, JP 2000172736, and JP 2000222451.

        Carastro et al., Statistical Of Embedded Capacitors Using Meonte Carlo Simulation, May
        2000, PP. 198-205.*, IEEE.

        Chang & Du, Layer Assignment Problem for Three-Layer Routing, IEEE Transactions
        on Computers, May 1988, vol. 37, No. 5.

        Chowanetz et al., Aspects on Integration of High-Speed Multiplexers and Demultiplexers
        in VLSI-Test systems, 1991 IEEE VLSI Test Symposium, Paper 7.3, pp. 128-133.

        Chu et al., A New Approach to Simultaneous Buffer Insertion and Wire Sizing, 1997
        IEEE/ACM International Conference on Computer-Aided Design, November 9, 1997,
        pp. 614-621.*, IEEE.




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       and Wire Sizing, IEEE Transactions on Computer-Aided Design of Integrated Circuits
       and Systems, June 1999, pp. 787-798.*, vol. 18, No. 6.

       Chung et al., Optimal Buffered Clock Tree Synthesis, Proceedings of Seventh Annual
       IEEE International ASIC Conference and Exhibit, September 19, 1994, pp. 130-133.

       Ciesielski, Layer Assignment for VLSI Interconnect Delay Minimization, IEEE
       Transactions on Computer-Aided Design, June 1989, pp. 702-707, vol. 8, No. 6.

       Davis et al., Compact Distributed RLC Interconnect Model, Electron Devices, IEEE
       Transactions., pp. 2068-2077.

       Cheryl Ajluni, Exploring the world of design tools that translate today's ideas into
       tomorrow's products, Verification Is Revolutionizing The IC Design Process EDA
       Electronic Design Automation/Nov. 3, 1997.

       Dave Bursky, Digital Design, Exploring the world of digital, logic, memory, and
       microprocessors, The System-On-A-Chip: It's Not Just A Dream Anymore Electronic
       Design/Oct. 13, 1997.

       Eurich et al., EDIF Grows Up, IEEE Spectrum, November 1990, pp. 68-72.

       Ferreira et al., Lasca--Interconnect Parasitic Extraction Tool for Deep-Submicron IC
       Design, 2000, pp. 327-332, IEEE.

       Harada et al, Radiated Emission Arising From Power Distribution In Multilayer Printed
       Circuit Boards", International Symposium on Electromagnetic Compatibility, IEEE, Aug.
       1977, p. 518-522.

       Harrold et al., A High-Level Test Program Language for Analog and Mixed-Signal Test
       Program Development, IEEE European Test Conference, 1993 Proceedings, pp. 519-520.

       Huang et al., Improving the Accuracy of On-Chip Parasitic Extraction, 1997, pp. 42-45.*,
       IEEE.

       Huber et al, A FDTD Method For Fast Simulation Of Decoupling Capacitors On
       Multilayer Multichip Modules, May 1999, PP. 228-231.*, IEEE.

       Internet reference--http.//www.lsilogic.com/techlib/.LSI Logic/Synopsys Optimized
       Submicron Design; Last updated Feb. 7, 1997; Optimized Synthesis Libraries (2 pages).

       Internet reference--http://www.lsilogic.com/products/5.sub.- 4q.html.ASIC CAD &
       Methodology From LSI Logic Corporation; FlexStream.TM. ASIC Deep Submicron
       Design Solution (14 pages).




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        Internet reference--http://www.lsilogic.com/products/5.sub.- 4r.html. ASIC Products:
        FlexStream.TM. Design Solution; ASIC CAD & Methodology From LSI Logic
        Corporation; (6 pages).

        Joy & Ciesielski, Layer Assignment for Printed Circuit Boards and Integrated Circuits,
        Proceedings of the IEEE, Feb. 1992, pp. 311-331, vol. 80, No. 2.

        Mark Basel, Accurate and Efficient Extraction of Interconnect Circuits for Full-Chip
        Timing Analysis, 1997, pp. 118-123.*, IEEE.

        NN9501457, Capacitance Target-Driven Cell Placement, IBM Technical Disclosure
        Bulletin, January 1995, pp 457-460.*, vol. 38, No. 1.

        Pratapneni et al., Development of chip model library for the computer-aided analysis of
        electronic packages, Fifteenth IEEE/CHMT International Electronic Manufacturing
        Technology Symposium, October 6, 1993, pp. 417-422. *

         Sabelka & Selberherr, SAP--A Program Package for Three-Dimensional Interconnect
         Simulation, Proceedings of the 1998 International Interconnect Technology Conference,
         Jun. 1-3, 1998, pp. 250-252.

        Wang & Kuh, A New Timing-Driven Multilayer MCM/IC Routing Algorithm, 1997
        IEEE Multi-Chip Module Conference, Feb. 4-5, 1997, pp. 89-94.

        Wont et al., Test Program Development in VLSI Testing, Proceedings of the 1997 IEEE
        International Symposium on Circuits and Systems, pp. 2697-2700, June 1997, vol. 4.

         223.   On information and belief, during the pendency of the '001 patent, the '001

 Applicant and others with a duty to disclose information material to the patentability of the '001

 patent failed to disclose material information regarding the status and prosecution of co-pending

 applications in related patents identified above. These omissions included, but are not limited to,

 the non-disclosure of office actions, rejections, responses and arguments to office actions and

 rejections, allowances and the reasons for allowance, and art, not necessarily prior art, from these

 co-pending applications that a reasonable examiner would consider to be material to the

 patentability of the '001 patent.

        224.    On information and belief, the '001 Applicant, Mr. Graef, had a duty to disclose

 relevant co-pending patent applications or issued patents on which he was a named inventor and

 had a duty to disclose at least the art identified above, which was presented to Mr. Graef during




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 prosecution of his other co-pending applications. Moreover, others with a duty to disclose,

 including the prosecuting attorneys, also failed to disclose relevant information and prior art.

 Because the undisclosed items were relevant, to withhold this information was a material breach

 of the duty owed to the U.S.P.T.O.

         225.    Thus, upon information and belief, Mr. Graef and others with a duty to disclose

 information material to the patentability of the '001 patent intentionally and specifically intended

 to deceive the U.S.P.T.O. as to the true state of the art so as to induce the U.S.P.T.O. to

 improperly issue the '001 patent. Such conduct was inequitable rendering each and every claim

 of the '001 patent unenforceable.

         226.    A judicial declaration ofunenforceability of the '001 patent is necessary and

 appropriate in order to resolve this controversy.

                              TWENTY-FIFTH CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '683 Patent)

         227.    The allegations contained in paragraphs 1 through 226 are incorporated by

 reference as if fully set herein.

         228.    Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under the '683 patent.

         229.    Defendants have accused Plaintiff of infringing the '683 patent through its

 manufacture, sale, use, and/or importation·of certain software products and/or integrated circuits,

 and have asserted that Plaintiff must talce a license to the '683 patent to lawfully continue the

 manufacture, sale, use, and/or importation of these integrated circuits.

         230.    Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these software products and/or

 integrated circuits without a license to the '683 patent.

         231.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-




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 infringement of the '683 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         232.    On information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '683 patent, either literally or under the doctrine of

 equivalents.

         233.    A judicial declaration of non-infringement of the '683 patent is necessary and

 appropriate in order to resolve this controversy.

                              TWENTY-SIXTH CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '683 Patent)

         234.    The allegations contained in paragraphs 1 through 233 are incorporated by

 reference as if fully set herein.

         235.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '683 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         236.    On information and belief, the '683 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         237.    A judicial declaration of invalidity of the '683 patent is necessary and appropriate

 in order to resolve this controversy.

                            TWENTY-SEVENTH CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '677 Patent)

         238.    The allegations contained in paragraphs 1 through 237 are incorporated by

 reference as if fully set herein.

         239.    Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under the '677 patent.

         240.    Defendants have accused Plaintiff of infringing the '677 patent through its



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 manufacture, sale, use, and/or importation of certain integrated circuits, and have asserted that

 Plaintiff must take a license to the '677 patent to lawfully continue the manufacture, sale, use,

 and/or importation of these integrated circuits.

         241.    Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these integrated circuits without a

 license to the '677 patent.

         242.    Defendants have asserted that the '677 patent is within the scope of the PLA

 between Xilinx and AT&T. Defendants have further asserted that they have certain rights under

 the PLA. Defendant Agere has filed an action in the Supreme Court of the State of New York,

 County of New York, for alleged breach of the PLA.

         243.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '677 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         244.    On information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '677 patent, either literally or under the doctrine of

 equivalents.

         245.    A judicial declaration of non-infringement of the '677 patent is necessary and

 appropriate in order to resolve this controversy.

                               TWENTY-EIGHTH CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '677 Patent)

         246.    The allegations contained in paragraphs 1 through 245 are incorporated by

 reference as if fully set herein.

         24 7.   Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '677 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.



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         248.    On information and belief, the '677 patent is invalid because of its failure to

 comply with one or more of the requrrements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         249.    A judicial declaration of invalidity of the '677 patent is necessary and appropriate

 in order to resolve this controversy.

                               TWENTY-NINTH CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '361 Patent)

         250.    The allegations contained in paragraphs 1 through 249 are incorporated by

 reference as if fully set herein.

         251.    Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under the '361 patent.

         252.    Defendants have accused Plaintiff of infringing the '361 patent through its

 manufacture, sale, use, and/or importation of certain software products, and have asserted that

 Plaintiff must take a license to the '361 patent to lawfully continue the manufacture, sale, use,

 and/or importation of these software products.

         253.    Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these software products without a

 license to the '361 patent.

         254.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '361 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         255.    Upon information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '361 patent, either literally or under the doctrine of

 equivalents.

         256.    A judicial declaration of non-infringement of the '361 patent is necessary and

 appropriate in order to resolve this controversy.



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                                 THIRTIETH CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '361 Patent)

         257.    The allegations contained in paragraphs 1 through 256 are incorporated by

 reference as if fully set herein.

         258.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '361 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         259.    Upon information and belief, the '361 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         260.    A judicial declaration of invalidity of the '361 patent is necessary and appropriate

 in order to resolve this controversy.

                               TIDRTY-FIRST CAUSE OF ACTION

                 (Declaratory Judgment of Unenforceability of the '361 Patent)

         261.    The allegations contained in paragraphs 1 through 260 are incorporated by

 reference as if fully set herein.

         262.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the

 unenforceability of the '361 patent. A valid and justiciable controversy has arisen and exists

 among Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         263.    On information and belief, the '361 patent is unenforceable by reason of

 inequitable conduct committed during the prosecution of the patent before the U.S.P.T.O. While

 the full scope of such inequitable conduct is not now known in its entirety and with precision,

 such conduct includes at least the deliberate withholdings of information from the U.S.P.T.O.

 described below.




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         264.    During the prosecution of the '361 patent, the named co-inventors of the '361

 patent had 20 co-pending patent applications that resulted in issued patents, including four

 applications that were filed the same day, October 2, 2000, as the '361 patent's application, and

 contained substantially the same specification. The patents that issued from these applications

 are:

         U.S. Patent No. 6,681,373      Method and apparatus for dynamic buffer and inverter tree
                                        optimization

         U.S. Patent No. 6,637,011      Method and apparatus for quick search for identities
                                        applicable to specified formula

         U.S. Patent No. 6,543,032      Method and apparatus for local re-synthesis oflogic trees
                                        with multiple cost functions

         U.S. Patent No. 6,532,582      Method and apparatus for optimal critical netlist area
                                        selection

         265.    During the prosecution of the '361 patent, no relevant art was supplied to the

 U.S.P.T.O. by the named inventors of the claimed '361 invention or their representatives. More

 specifically, the four co-pending applications with essentially the same specification were never

 disclosed to the U.S.P.T.O.

         266.    On information and belief, the four co-pending applications with essentially the

 same specification, as well as any references disclosed during the prosecution of those

 applications, are material and to the patentability of the '361 patent. Independent claims 1 and 3

 of the '361 patent use step-plus-function and means-plus-function language respectively, and are

 subject to interpretation under 35 U.S.C. § 112, 6. Both of these claims recite the use of

 "methods oflocal optimization" generically, but because of their interpretation under 35 U.S.C.

  § 112 ~ 6, they must refer to the specific methods and structures disclosed in the specification.

  On information and belief, the various claims in the four co-pending applications claim the

 specific methods and structures for the "methods of local optimization," using step-plus function

  and means-plus-function language that are described in the '361 patent's specification.




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 Therefore, any prior art and other references found to be material and not cumulative in the

 prosecution of the co-pending patents would also be found to be relevant, material, and not

 cumulative to the examiner of the '361 patent.

        267.    Under 37 C.F.R. § 1.56, each individual associated with the filing and prosecution

 of a patent application has a duty of candor and good faith in dealing with the U.S.P.T.O., which

 includes the duty to disclose to the U.S.P.T.O. all information known to that individual to be

 material to patentability of any pending claim.

        268.    On information and belief, the named '361 inventors and their agents at Mitchell

 Silberberg & Knupp, including Steven E. Shapiro, knew, or should have known, that the four co-

 pending applications with essentially the same specification, as well as any references disclosed

 during the prosecution of those applications, were material to the patentability of the '361 patent.

        269.    The named '361 inventors and their agents at Mitchell Silberberg & Knupp,

 including Steven E. Shapiro, failed to disclose the four co-pending applications with essentially

 the same specification, as well as any references disclosed during the prosecution of those

 applications, during the prosecution of the '361 patent's application.

        270.    On information and belief, during the pendency of the '361 patent, the '361

 Applicants and their agents at Mitchell Silberberg & Knupp, including Steven E. Shapiro, had a

 duty to disclose information material to the patentability of the '361 patent and failed to disclose

 material information regarding the status and prosecution of co-pending applications in related

 patents identified above. These omissions included, but are not limited to, the non-disclosure of

 office actions, rejections, responses and arguments to office actions and rejections, allowances

 and the reasons for allowance, and art, not necessarily prior art, from these co-pending

 applications that a reasonable examiner would consider to be material to the patentability of the

 '361 patent.

        271.    On information and belief, the named '361 inventors and their agents at Mitchell

 Silberberg & Knupp, including Steven E. Shapiro, had a duty to disclose information material to

 the patentability of the '361 patent, failed to disclose the four co-pending applications with



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 essentially the same specification, as well as any references disclosed during the prosecution of

 those applications, with the intent to deceive the U.S.P.T.O. and to facilitate issuance of the '361

 patent

          272.   On information and belief, the named '361 inventors and their agents at Mitchell

 Silberberg & Knupp, including Steven E. Shapiro, actions and inaction described herein

 constitute inequitable conduct. As a result of such conduct, each and every claim of the '361

 patent are rendered unenforceable.

          273.   A judicial declaration of unenforceability of the '361 patent is necessary and

 appropriate in order to resolve this controversy.

                               TIDRTY-SECOND CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '333 Patent)

          274.   The allegations contained in paragraphs 1 through 273 are incorporated by

 reference as if fully set herein.

          275.   Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under the '3 33 patent.

          276.   Defendants have accused Plaintiff of infringing the '333 patent through its

 manufacture, sale, use, and/or importation of certain software products and/or integrated circuits,

 and have asserted that Plaintiff must take a license to the '333 patent to lawfully continue the

 manufacture, sale, use, and/or importation of these software products and/or integrated circuits.

          277.   Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these software products and/or

 integrated circuits without a license to the '333 patent.

          278.   Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '333 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.




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         279.    On information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '333 patent, either literally or under the doctrine of

 equivalents.

         280.    A judicial declaration of non-infringement of the '333 patent is necessary and

 appropriate in order to resolve this controversy.

                              THIRTY-TIDRD CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '333 Patent)

         281.    The allegations contained in paragraphs 1 through 280 are incorporated by

 reference as if fully set herein.

         282.    Under aH the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '333 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         283.    On information and belief, the '333 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         284.    A judicial declaration of invalidity of the '333 patent is necessary and appropriate

 in order to resolve this controversy.

                             THIRTY-FOURTH CAUSE OF ACTION

                  (Declaratory Judgment ofUnenforceability of the '333 Patent)

         285.    The allegations contained in paragraphs 1 through 284 are incorporated by

 reference as if fully set herein.

         286.    Under all the circumstances in this dispute, Defenrumts have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the

 unenforceability of the '333 patent. A valid and justiciable controversy has arisen and exists

 among Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.




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        287.      On information and belief, the '333 patent is unenforceable by reason of

 inequitable conduct committed during the prosecution of the patent before the U.S.P.T.O. While

 the full scope of such inequitable conduct is not now known in its entirety and with precision,

 such conduct includes at least the deliberate withholdings ofinformation from the U.S.P.T.O.

 described below.

        288.      On information and belief, during the prosecution of the '333 patent, the named

 inventor, Mr. Hamlin, had various issued patents ("Hamlin patents") and co-pending patent

 applications that were relevant to the claimed subject matter of the '333 patent. Despite their

 relevance, neither Mr. Hamlin, nor others with a duty of disclosure to the U.S.P.T.O., disclosed

 the Hamlin patents and relevant co-pending patent applications.

        289.      On information and belief, during the pendency of the application that issued as

 the '333 patent, Mr. Hamlin had various co-pending applications that disclosed or were relevant

 to the subject matter of the claims of the '333 patent. For example, where claim I of the 333

 patent claims:

        A system for providing distributed dynamic functionality in an electronic environment
        comprising:
        a plurality of platforms, the platforms suitable for providing a logic function, the
                platforms including embedded programmable logic, memory and a
                reconfigurable core, the logic, memory and reconfigurable core communicatively
                coupled via a fabric interconnect; and
        a map expressing logic functions of the plurality of platforms;
        wherein the reconfigurable core is configured as a base processor design plus instruction
                set extensions designed to carry out function-specific logical and arithmetic
                operations.

        The specification of the '333 patent discloses this functionality as follows:

        The platforms are suitable for providing a logic/unction, and include embedded
        programmable logic, memory and a reconfigurable core. The logic, memory and
        reconfigurable core are communicatively coupled via a fabric interconnect. A map is
        also included which expresses logic functions of the plurality of platforms. ('333 patent
        at I :6-2:5)
        290.      On information and belief, this functionality is similarly described in several of

 Mr. Hamlin's other co-pending applications that were not disclosed during the prosecution of the




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  '333 patent. For example, Mr. Hamlin's co-pending application that issued as U.S. Patent No.

 6,779,168 was directly relevant to the claims of the '333 patent with its disclosure of the

 following:

         The platforms include embedded programmable logic and MRAM memory, the logic
         and MRAM memory communicatively coupled via an interconnect. (U.S. Patent No.
         6,779,168 at 2:7-9)

         Similarly, U.S. Patent 6,889,366 discloses:

         Methodology and metamethodology and the relationship to platform architecture, and the
         form that this has taken mostly has been in advanced platform architecture, such as
         reconfigurable processors, embedded programmable logic cores, relationship between
         these two things that includes the incorporation of nonvolatile writable memory,
         embedded software techniques, a scalable interconnect, such as an interconnect with
         isochronous properties, and the like. (U.S. Patent No. 6,889,366 at 2:63-3:4)

         U.S. Patent 7,051,297 discloses:

         A platform is a large-scale, high-complexity semiconductor device that includes one or
         more of the following elements: (1) memory; (2) a customizable array of transistors; (3)
         a IP (intellectual property) block; (4) a processor, e.g., an ESP (embedded standard
         product); (5) an embedded programmable logic block; and (6) interconnect. (U.S.
         Patent No. 7,051,297 at 3:12-18)

         And U.S. Patent 6,769,097 discloses:

         One such organization has been termed a 'sea-of-platforms', referring to the idea that
         multiple 'platforms' (which may includes processors, programmable logic, gate array
         blocks, standard cell IP blocks, memory blocks, and the like) may usefully be organized.
         in interconnection patterns described by switching fabric heuristics and algorithms. cu·.s.
         Patent No. 6,769,097 at 2:62-67)

         Mr. Hamlin's other co-pending or issued patents, which may be relevant to the claims of

 the '333 patent, include:

         U.S. Patent No. 7,322,021     Virtual path for interconnect fabric using bandwidth
                                       process

         U.S. Patent No. 7,127,692     Timing abstraction and partitioning strategy

         U.S. Patent No. 7,051,297     Method and apparatus for mapping platform-based design
                                       to multiple foundry processes




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        U.S. Patent No. 7,016,748     Collaborative integration of hybrid electronic and micro
                                      and sub-micro level aggregates

        U.S. Patent No. 6,999,910     Method and apparatus for implementing a
                                      metamethodology

        U.S. Patent No. 6,889,366      System and method for coevolutionary circuit design

        U.S. Patent No. 6,857,108     Interactive representation of structural dependencies in
                                      semiconductor design flows

        U.S. Patent No. 6,795,849      Paradigm for inter-networked storage

        U.S. Patent No. 6,792,584      System and method for designing an integrated circuit

        U.S. Patent No. 6,779,168     Magnetoresistive memory for a complex programmable
                                      logic device

        U.S. Patent No. 6,769,097      Scale-invariant topology and traffic allocation in multi-
                                       node system-on-chip switching fabrics

        U.S. Patent No. 6,751,783      System and method for optimizing an integrated circuit
                                       design

        U.S. Patent No. 6,654,946     Interscalable interconnect
        291.    Moreover, the prior art cited during the prosecution of the above-listed patents

 was also not disclosed during the prosecution of the '333 patent, including:

        U.S. Patent Nos. 4,100,403, 4,656,592, 4,656,592, 4,656,592, 4,656,592, 5,220,512,
        5,222,030, 5,224,055, 5,303,161, 5,452,231, 5,500,805, 5,519,630, 5,544,067, 5,553,002,
        5,557,533, 5,563,801, 5,596,742, 5,615,124, 5,625,565, 5,673,367, 5,737,234, 5,742,738,
        5,752,070, 5,752,070, 5,752,070, 5,752,070, 5,752,070, 5,752,070, 5,754,826, 5,761,484,
        5,818,728, 5,818,728, 5,818,728, 5,818,729, 5,818,729, 5,818,729, 5,892,678, 5,898,677,
        5,898,677, 5,898,677, 5,898,677, 5,898,677, 5,898,677, 5,907,698, 6,026,226, 6,058,385,
        6,102,961, 6,134,516, 6,145,117, 6,152,613, 6,152,613, 6,152,613, 6,152,613, 6,152,613,
        6,152,613, 6,205,362, 6,216,259, 6,219,819, 6,230,290, 6,253,358, 6,269,277, 6,269,277,
        6,269,277, 6,269,277, 6,269,277, 6,269,277, 6,269,467, 6,269,467, 6,360,191, 6,360,356,
        6,366,874, 6,408,428, 6,421,251, 6,425,116, 6,459,136, 6,459,136, 6,459,136, 6,470,482,
        6,470,482, 6,505,329, 6,523,151, 6,526,556, 6,539,531, 6,539,531, 6,546,536, 6,557,145,
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        6,634,008, 6,640,333, 6,643,195, 6,654,946, 6,658,478, 6,678,875, 6,697,914, 6,704,917,
        6,717,576, 6,721,922, 6,742,165, 6,742,165, 6,757,882, 6,834,380, 6,871,154, and
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       2002/0152305,2002/0172195,2002/0188916,2003/0005401,2003/0097241,
       2003/0097241, 2003/0208284, 2004/0025119, 2004/0241990, 2005/0010378, and
       2005/0022155.

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        292.    On information and belief, the Applicant, Mr. Hamlin, had a duty to disclose

 relevant co-pending or issued patents on which he was a named inventor and had a duty to

 disclose at least the art identified above, which was presented to Mr. Hamlin during prosecution

 of his other co-pending applications. Moreover, others with a duty to disclose, including the




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 prosecuting attorneys, also failed to disclose relevant information and prior art. Because the

 undisclosed items were relevant, to withhold this information was a material breach of the duty

 owed to the U.S.P.T.O.

         293.    On information and belief, during the pendency of the '333 patent, the '333

 Applicant and others with a duty to disclose information material to the patentability of the '333

 patent failed to disclose material information regarding the status and prosecution of co-pending

 applications in related patents identified above. These omissions included, but are not limited to,

 the non-disclosure of office actions, rejections, responses and arguments to office actions and

 rejections, allowances and the reasons for allowance, and art, not necessarily prior art, from these

 co-pending applications that a reasonable examiner would consider to be material to the

 patentability of the '333 patent.

         294.    Thus, on information and belief, Mr. Hamlin and others with a duty to disclose

 information material to the patentability of the '333 patent intentionally and specifically intended

 to deceive the U.S.P.T.0. as to the true state of the art so as to induce the U.S.P.T.O. to

 improperly issue the '333 patent. Such conduct was inequitable rendering each and every claim

 of the '333 patent unenforceable.

         295.    A judicial declaration of unenforceability of the '333 patent is necessary and

 appropriate in order to resolve this controversy.

                               THIRTY-FIFTH CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '968 Patent)

         296.    The allegations contained in paragraphs 1 through 295 are incorporated by

 reference as if fully set herein.

         297.    Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under the '968 patent.

         298.    Defendants have accused Plaintiff of infringing the '968 patent through its

 manufacture, sale, use, and/or importation of certain integrated circuits, and have asserted that




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 Plaintiff must take a license to the '968 patent to lawfully continue the manufacture, sale, use,

 and/or importation of these integrated circuits.

         299.    Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these integrated circuits without a

 license to the '968 patent.

         300.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '968 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

         301.    On information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '968 patent, either literally or under the doctrine of

 equivalents.

         302.    A judicial declaration of non-infringement is necessary and appropriate in order to

 resolve this controversy.

                               TIDRTY-SIXTH CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '968 Patent)

         303.    The allegations contained in paragraphs 1 through 302 are incorporated by

 reference as if fully set herein.

         304.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '968 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         305.    On information and belief, the '968 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         306.    A judicial declaration of invalidity is necessary and appropriate in order to resolve

 this controversy.



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                             TIDRTY-SEVENTH CAUSE OF ACTION

                 (Declaratory Judgment of Non-Infringement of the '726 Patent)

         307.    The allegations contained in paragraphs 1 through 306 are incorporated by

 reference as if fully set herein.

         308.    Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under the '726 patent.

         309.    Defendants have accused Plaintiff of infringing the '726 patent through its

 manufacture, sale, use, and/or importation of certain integrated circuits, and have asserted that

 Plaintiff must take a license to the '726 patent to lawfully continue the manufacture, sale, use,

 and/or importation of these integrated circuits.

         310.    Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these integrated circuits without a

 license to the '726 patent.

         311.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the non-

 infringement of the '726 patent. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of28 U.S.C. § 2201.

         312.    On information and belief, Plaintiff has not directly or indirectly infringed any

 valid and enforceable claims of the '726 patent, either literally or under the doctrine of

 equivalents.

         313.    A judicial declaration of non-infringement is necessary and appropriate in order to

 resolve this controversy.

                               TIDRTY-EIGHTH CAUSE OF ACTION

                      (Declaratory Judgment of Invalidity of the '726 Patent)

         314.    The allegations contained in paragraphs 1 through 313 are incorporated by

 reference as if fully set herein.




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         315.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the invalidity of

 the '726 patent. A valid and justiciable controversy has arisen and exists among Plaintiff and

 Defendants within the meaning of 28 U.S.C. § 2201.

         316.    On information and belief, the '726 patent is invalid because of its failure to

 comply with one or more of the requirements of the patent laws of the United States, including,

 without limitation, 35 U.S.C. §§ 101, 102, 103, 112, and/or 116.

         317.    A judicial declaration of invalidity is necessary and appropriate in order to resolve

 this controversy.
                              TIDRTY-NINTH CAUSE OF ACTION

 (Declaratory Judgment that under the March 1, 1992 Patent Licencing Agreement Between
            AT&T and Xilinx (As Amended) No Royalties Are Owed by Xilinx)

         318.     The allegations contained in paragraphs 1 through 317 are incorporated by

 reference as if fully set herein.

         319.    Defendants claim to be the owners and assignees of all rights, title, and interest in

 and under each of the '765, '229, '431, '700, and '677 patents.

         320.    Defendants have accused Plaintiff of infringing each ofthe '765, '229, '431, '700,

 and '677 patents through its manufacture, sale, use, and/or importation of certain integrated

 circuits; and have asserted that Plaintiff must take a license to the '.765, '229, '431, '700, and

  '677 patents to lawfully continue the manufacture, sale, use, and/or importation of these

 integrated circuits.

         321.    Defendants have asserted that the '765, '229, '431, '700, and '677 patents are

 within the scope of the Patent license Agreement ("PLA") between Xilinx and AT&T.

 Defendants have further asserted that they have certain rights under the PLA including the right

 to collect royalties from Xilinx. Defendant Agere has filed an action in the Supreme Court of the

  State ofNew York, County ofNew York, for alleged breach of the PLA resulting from Xilinx

 allegedly not paying royalties relating to patents within the scope of the PLA.




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         322.    Plaintiff has informed Defendants that Plaintiff contends that it has the right to

 engage in the manufacture, sale, use, and/or importation of these integrated circuits without a

 license to the '765, '229, '431, '700, and '677 patents because Plaintiff does not infringe these

 patents or these patents are invalid or unenforceable. Plaintiff has further informed Defendants

 that no royalties are due under the PLA because these patents are not infringed, are invalid, or

 are not enforceable.

         323.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to the lack of

 royalties due under the PLA. A valid and justiciable controversy has arisen and exists among

 Plaintiff and Defendants within the meaning of28 U.S.C. § 2201.

         324.    On information and belief, Plaintiff does not owe any royalties under the PLA for

 directly or indirectly infringing any valid and enforceable claims of the '765, '229, '431, '700,

 and '677 patents, either literally or under the doctrine of equivalents.

         325.    A judicial declaration that no royalties are due is necessary and appropriate in

 order to resolve this controversy.

                                 FORTIETH CAUSE OF ACTION

  (Declaratory Judgment That the March 1, 1992, Patent license Agreement Between AT&T
               and Xilinx (As Amended) Cannot Be Enforced By Defendants)

         326.    The allegations contained in paragraphs 1 through 325 are incorporated by

 reference as if fully set herein.

         327.    On or about March 12, 1992, Plaintiff and AT&T entered into a Patent License

 Agreement effective March 1, 1992.

         328.    Section 4.02 of PLA states that "neither this agreement nor any licenses or rights

 hereunder shall be otherwise assignable or transferable (in insolvency proceedings, by reason of

 the sale or transfer of assets, or by a corporate merger, or otherwise) by either party without the

 express written consent of the other party."




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        329.    On or about January 31, 1996, Plaintiff and AT&T entered into a Letter

 Agreement addressing the PLA ("the Letter Agreement"). In this Letter Agreement, Plaintiff

 granted AT&T the one time right to assign its rights under the PLA to a restructured equipment

 company, Systems and Technology Company, later known as Lucent Technologies Inc.

 ("Lucent").

        330.    Plaintiff has not granted Lucent the right to assign or otherwise transfer the PLA

 or any rights under the PLA to any other entity.

        331.    On information and belief, on or about February 1, 2001, Lucent assigned some

 license agreements and rights to collect royalties on agreement to Agere. However, Lucent

 assigned the agreements and rights "to the extent Lucent ha[d] the right to do so and only to that

 extent."

        332.    Because Lucent did not have the right to transfer the PLA nor to transfer any

 rights under the PLA to Agere without Plaintiff's express written consent and because Lucent

 explicitly only transferred rights relating to license agreements to Agere to the extent Lucent had

 the right to do so, Lucent did not transfer the PLA or any rights under the PLA to Agere on

 February 1, 2001.

        333.    On information and belief, Defendant Agere merged with Atlas Acquisition

 Corp., a wholly owned subsidiary of Defendant LSI, on or about December 3, 2006. Defendant

 Agere continued as the surviving corporation of the merger and as a wholly owned subsidiary of

 Defendant LSI.

        334.    Section 4.02 of PLA states that "[t]he grant of each license hereunder includes the

 right to grant sub licenses within the scope of such license to a party's RELATED COMPANIES

 for so long as they remain its RELATED COMPANIES," and defines "RELATED

 COMPANIES of a company as SUBSIDIARIES of the company and any other company so

 designated by mutual agreement in writing.... " Because LSI has not been and is not a

 subsidiary of Agere, the PLA would not have allowed any rights to transfer from Agere to LSI,

 even if Agere had had any rights under the PLA, which it did not.



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        335.    In fact, Plaintiff has not granted any entity the right to assign or otherwise transfer

 the PLA or any rights under the PLA to LSI.

        336.    LSI has informed Plaintiff that it contends that it has been assigned rights to

 royalties from Plaintiff under the PLA.

        337.    Plaintiff has informed Defendants that Plaintiff contends that Defendants do not

 have the right to collect royalties from Plaintiff under the PLA.

        338.    Defendant Agere has filed an action in the Supreme Court of the State of New

 York, County of New York, for alleged breach of the PLA by Xilinx.

        339.    Under all the circumstances in this dispute, Defendants have, at a minimum,

 created a substantial, immediate, and real controversy among the parties as to whether or not

 Defendants have any rights under the PLA. A valid and justiciable controversy has arisen and

 exists among Plaintiff and Defendants within the meaning of 28 U.S.C. § 2201.

        340.    A judicial declaration that Defendants have no rights under the PLA and that

 Defendants do not have standing to enforce the PLA is necessary and appropriate in order to

 resolve this controversy.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff requests that the Court enter judgment in its favor and against

 Defendants, and requests the following relief:


                (A)     An adjudication that the '765, '030, '229, '431, '277, '900, '958, '700,

                        '001, '683, '677, '361,'333, '968, and '726 patents (collectively, the

                        "Asserted Patents") are not infringed by Plaintiffs importation, use, offer

                        for sale, and/or sale in the United States of any of its products;

                (B)     An adjudication that the Asserted Patents are invalid;

                (C)     An adjudication that the '765, '229, '277, '958, '700, '001, '361, and '333

                        patents are unenforceable;

                (D)     An adjudication that Defendants do not have the right to collect any




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                         royalties from Plaintiff under the PLA;

                 (E)     An adjudication that no royalties are owed by Xilinx under the PLA

                 (F)     An adjudication in favor of Plaintiff on each of Plaintiff's claims;

                 (G)     An adjudication that this is an exceptional case, and an award of Plaintiff's

                         costs and attorneys' fees by Defendants pursuant to 35 U.S.C. § 285 or

                         otherwise; and

                 (H)     Such other relief as this Court deems just and proper.

                                        DEMAND FOR JURY TRIAL

         Pursuant to Federal Rule of Civil Procedure 38(6) and Delaware Local Rule 38.1,

 Plaintiff respectfully requests a jury trial on all issues triable thereby.




                                                         POTTER ANDERSON & CORROON LLP


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 Dated: November 20, 2009
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           Craig Etchegoyen                                                                            PARTIE

           Chairman at WSOU investments
           Kailua-Kona, Hawaii, United States · 4 connections · Contact info




           Activity
           4 followers

           Posts Craig created, shared, or commented on in the last 90 days are displayed here.


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           Experience

                           Chief Executive Officer
                           PARTIE




                           Chairman
                           WSOU investments
                           Jan 2017 – Present · 4 yrs 1 mo
                           Hawaii, United States


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            Stuart A. S.             · 3rd                                                          Brazos Licensing and
                                                                                                    Development
            President at Brazos Licensing and Development                                           The George Washingt
            Los Angeles, California, United States · 500+ connections ·                             University Law Schoo
            Contact info




            About
            Prior to co-founding WSOU Investments and its affiliate companies, Stuart served as the General Counsel for Wa
            Company, a venture capital firm and as the managing partner of the Los Angeles and Century City offices of the
            international law firm, Reed Smith LLP. As a 20-year partner in Reed Smith, he was a member of the commer... se




            Activity
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                         Federal Judge William Alsup ‘Goes Senior’                     Bovich has mad skills.
                         After 21 Years on the Bench | The Recorder                    Stuart A. commented
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                            President
                            Brazos Licensing and Development
                            Aug 2017 – Present · 3 yrs 6 mos
                            Waco, Texas, United States
                            President, Brazos Licensing and Development



                            General Counsel
                            Wade & Company
                            Mar 2016 – May 2019 · 3 yrs 3 mos
                            Greater Los Angeles Area



                            Partner
                            Reed Smith
                            Jan 1997 – Mar 2016 · 19 yrs 3 mos
                            Greater Los Angeles Area



                            Summer Associate, Associate, Partner
                            Bell, Boyd & Lloyd · Full-time
                            Sep 1989 – Dec 1996 · 7 yrs 4 mos
                            Chicago, Illinois, United States




            Education

                            The George Washington University Law School
                            JD
                            1986 – 1989



                            Boston College
                            BA, Economics, Philosophy
                            1982 – 1986




            Volunteer experience

                            Board of Trustees
                            The Campbell Hall School
                            Aug 2012 – Oct 2020 • 8 yrs 3 mos


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                       EXHIBIT G
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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

     WSOU INVESTMENTS, LLC d/b/a                       §
     BRAZOS LICENSING AND                              §
     DEVELOPMENT,                                      §         CIVIL ACTION NO. 6:20-cv-403
                                                       §
               Plaintiff,                              §           JURY TRIAL DEMANDED
                                                       §
     v.                                                §
                                                       §
     DELL TECHNOLOGIES INC., DELL                      §
     INC., AND EMC CORPORATION,                        §
                                                       §
               Defendants.                             §

                    ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

          Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

  “Plaintiff”), by and through its attorneys, files this Complaint for Patent Infringement against Dell

  Technologies Inc., Dell Inc., and EMC Corporation (collectively, “Defendants”) and alleges:

                                          NATURE OF THE ACTION
          1.       This is a civil action for patent infringement arising under the Patent Laws of the

  United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                                 THE PARTIES
          2.       Brazos is a limited liability corporation organized and existing under the laws of

  Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

          3.       On information and belief, defendant Dell Technologies Inc. is a Delaware

  corporation with a principal place of business at One Dell Way, Round Rock, Texas 78682.

          4.       On information and belief, defendant Dell Inc. is a Delaware corporation with a

  principal place of business at One Dell Way, Round Rock, Texas 78682. Dell Inc. is wholly owned

  by its corporate parent, Dell Technologies Inc.


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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                       WACO DIVISION

     WSOU INVESTMENTS, LLC d/b/a                       §
     BRAZOS LICENSING AND                              §
     DEVELOPMENT,                                      §         CIVIL ACTION NO. 6:20-cv-571
                                                       §
               Plaintiff,                              §           JURY TRIAL DEMANDED
                                                       §
     v.                                                §
                                                       §
     GOOGLE LLC,                                       §
                                                       §
               Defendant.                              §
                                                       §

                    ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

          Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

  “Plaintiff”), by and through its attorneys, files this Complaint for Patent Infringement against

  Google LLC (“Google”) and alleges:

                                     NATURE OF THE ACTION
          1.       This is a civil action for patent infringement arising under the Patent Laws of the

  United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.

                                             THE PARTIES
          2.       Brazos is a limited liability corporation organized and existing under the laws of

  Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas 76701.

          3.       On information and belief, Google is a Delaware corporation with a physical

  address at 500 West 2nd Street, Austin, Texas 78701.

                                    JURISDICTION AND VENUE
          4.       This is an action for patent infringement which arises under the Patent Laws of the

  United States, in particular, 35 U.S.C. §§ 271, 281, 284, and 285.



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                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION


  WSOU INVESTMENTS, LLC D/B/A                          No. 6:20-cv-00725
  BRAZOS LICENSING AND DEVELOPMENT,
                                                       JURY TRIAL DEMANDED
                 Plaintiff,

           v.

  HEWLETT PACKARD ENTERPRISE COMPANY,

                 Defendant.


                               BRAZOS’S COMPLAINT AGAINST HPE FOR
                              INFRINGEMENT OF U.S. PATENT NO. 7,280,534

           Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos”),

  by and through its attorneys, files this Complaint for Patent Infringement against defendant

  Hewlett Packard Enterprise Company (“HPE”) and alleges:

                                       NATURE OF THE ACTION

           1.    This is a civil action for patent infringement arising under the Patent Laws of the

  United States, 35 U.S.C. §§ 1 et seq., including §§ 271, 281, 284, and 285.

                                            THE PARTIES

           2.    Brazos is a limited liability corporation organized and existing under the laws of

  Delaware, with its principal place of business at 606 Austin Avenue, Suite 6, Waco, Texas

  76701.

           3.    On information and belief, HPE is a corporation organized and existing under the

  laws of Delaware, with a regular and established place of business located at 14231 Tandem

  Boulevard, Austin, Texas 78728. HPE may be served through its designated agent for service of

  process, CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, Texas, 75201.
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                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF TEXAS
                                          WACO DIVISION


  WSOU INVESTMENTS, LLC D/B/A                          No. 6:20-cv-00812
  BRAZOS LICENSING AND DEVELOPMENT,
                                                       JURY TRIAL DEMANDED
                 Plaintiff,

           v.

  JUNIPER NETWORKS, INC.,

                 Defendant.


                              BRAZOS’S COMPLAINT AGAINST JUNIPER FOR
                              INFRINGEMENT OF U.S. PATENT NO. 7,382,781

           Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos”),

  by and through its attorneys, files this Complaint for Patent Infringement against defendant

  Juniper Networks, Inc. (“Juniper”) and alleges:

                                       NATURE OF THE ACTION

           1.    This is a civil action for patent infringement arising under the Patent Laws of the

  United States, 35 U.S.C. §§ 1 et seq., including §§ 271, 281, 284, and 285.

                                            THE PARTIES

           2.    Brazos is a limited liability corporation organized and existing under the laws of

  Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas

  76701.

           3.    On information and belief, Juniper is a corporation organized and existing under

  the laws of Delaware, with a regular and established place of business located at 1120 South

  Capital of Texas Highway, Suite 120, First Floor, Building 2, Austin, Texas 78746. Juniper may

  be served through its designated agent for service of process, CT Corporation System, 1999
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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

   WSOU INVESTMENTS, LLC D/B/A
   BRAZOS LICENSING AND
   DEVELOPMENT,
                                                        CIVIL ACTION NO. 6:20-cv-1083
                      Plaintiff,
   v.

   ARISTA NETWORKS, INC.
                                                        JURY TRIAL DEMANDED
                      Defendant.

                                   BRAZOS COMPLAINT FOR
                           PATENT INFRINGEMENT AND JURY DEMAND

           Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos”),

  by and through its attorneys, files this Complaint for Patent Infringement against defendant Arista

  Networks, Inc. (“Arista”) and alleges as follows:

           1.        This Complaint arises from Arista’s unlawful infringement of the following United

  States patents owned by Brazos: United States Patent Nos. 7,409,715 (“’715 Patent”); 8,472,447

  (“’447 Patent”); and 9,450,884 (“’884 Patent”) (collectively, the “Asserted Patents”).

                                                   Parties

           2.        Plaintiff Brazos is a limited liability corporation organized and existing under the

  laws of Delaware, with its principal place of business at 605 Austin Avenue, Suite 6, Waco, Texas

  76701.

           3.        Defendant Arista Networks, Inc. is a corporation organized under the laws of the

  State of Delaware, with its principal place of business at 5453 Great America Parkway, Santa

  Clara, California 95054. Arista is doing business, either directly or through its agents, on an

  ongoing basis in this judicial district and elsewhere in the United States, and has a regular and




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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        WACO DIVISION

   WSOU INVESTMENTS, LLC d/b/a                       §
   BRAZOS LICENSING AND                              §
   DEVELOPMENT,                                      §
                                                     §
         Plaintiff,                                  §
                                                     § CIVIL ACTION NO. 6:20-cv-1172
   v.                                                §
                                                     §     JURY TRIAL DEMANDED
   SALESFORCE.COM, INC.,                             §
                                                     §
         Defendant.                                  §

                 ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos” or

  “Plaintiff”), by and through its attorneys, files this Complaint for Patent Infringement against

  Defendant Salesforce.com, Inc. (“Salesforce”) and alleges:


                                   NATURE OF THE ACTION

         1.      This is a civil action for patent infringement arising under the Patent Laws of the

  United States, 35 U.S.C. §§ 1, et seq., including §§ 271, 281, 284, and 285.


                                           THE PARTIES

         1.      Brazos is a limited liability corporation organized and existing under the laws of

  Delaware, with its principal place of business at 606 Austin Avenue, Suite 6, Waco, Texas 76701.

         2.      Defendant Salesforce is a corporation organized and existing under the laws of

  Delaware that maintains an established place of business at 415 Mission Street, 3rd Floor, San

  Francisco, California 94105.




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                       EXHIBIT H
2/3/2021Case        1:20-cv-01228-CFC Document 27-1 Filed  02/03/21
                                                        Cases Search Page 128 of 131 PageID #: 1798
  Cases Search




  Cases Search                                                                                                                                                                 7 Results

   Parties: begins wsou Parties: begins juniper Case Status: Active


          Case                                                                                                                  Case Filing Date             Case Terminated

          WSOU Investments LLC v. Juniper Networks, Inc.                                                                        Sep. 30, 2020
          6-20-cv-00902 (WDTX)

                    Number               Inventor              Name
                                         Doshi                 Methods and devices for providing optical, serviced-enabled cross-connections

          WSOU Investments LLC v. Juniper Networks, Inc.                                                                        Sep. 30, 2020
          6-20-cv-00903 (WDTX)

                    Number               Inventor              Name
                                         Saha                  System and method for resilient VPLS over multi-nodal APS protected provider edge nodes

          WSOU Investments LLC v. Juniper Networks, Inc.                                                                        Sep. 04, 2020
          6-20-cv-00812 (WDTX)

                    Number               Inventor              Name
                                         Sridhar               Multicast architecture for a virtual private local area network service in a metro ethernet network

          WSOU Investments LLC v. Juniper Networks, Inc.                                                                        Sep. 04, 2020
          6-20-cv-00813 (WDTX)

                    Number               Inventor              Name
                                         Rabinovitch           Software conﬁgurable cluster-based router using heterogeneous nodes as cluster nodes

          WSOU Investments LLC v. Juniper Networks, Inc.                                                                        Sep. 04, 2020
          6-20-cv-00814 (WDTX)

                    Number               Inventor              Name
                                         Acharya               Route determination method and apparatus for virtually-concatenated data traﬃc

          WSOU Investments LLC d/b/a Brazos Licensing and Development v. Juniper Networks, Inc.                                 Sep. 04, 2020
          6-20-cv-00815 (WDTX)

                    Number               Inventor              Name
                                         Chen                  Methods and devices for creating bi-directional LSPs

          WSOU Investments LLC d/b/a Brazos Licensing and Development v. Juniper Networks, Inc.                                 Sep. 04, 2020
          6-20-cv-00816 (WDTX)

                    Number               Inventor              Name
                                         van Haalen            Method and apparatus for establishing spanning trees




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                       EXHIBIT I
2/3/2021Case        1:20-cv-01228-CFC Document 27-1 Filed  02/03/21
                                                        Cases Search Page 130 of 131 PageID #: 1800
  Cases Search




  Cases Search                                                                                                                                                                         19 Results

   Parties: begins wsou Parties: begins huawei Courts: Delaware District, Texas Western District, Virginia Eastern District, Washington Western District Case Status: Active


          Case                                                                                                                        Case Filing Date               Case Terminated

          WSOU Investments LLC v. Huawei Technologies Co. Ltd. et al                                                                  Oct. 02, 2020
          6-20-cv-00916 (WDTX)

                    Number                Inventor              Name
                                          Doshi                 Bundling messages in communication networks

          WSOU Investments LLC v. Huawei Technologies Co. Ltd. et al                                                                  Oct. 02, 2020
          6-20-cv-00917 (WDTX)

                    Number                Inventor              Name
                                          Auterinen             Redundancy and load balancing in a telecommunication unit and system

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                                 Sep. 29, 2020
          6-20-cv-00889 (WDTX)

                    Number                Inventor              Name
                                          Gallagher             Selective establishment of telecommunications connections over packet and circuit switched
                                                                networks

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                                 Sep. 29, 2020
          6-20-cv-00890 (WDTX)

                    Number                Inventor              Name
                                          Chiruvolu             Domain based congestion management

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                                 Sep. 29, 2020
          6-20-cv-00891 (WDTX)

                    Number                Inventor              Name
                                          MacDonald             Method and system for network wide fault isolation in an optical network

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                                 Sep. 29, 2020
          6-20-cv-00892 (WDTX)

                    Number                Inventor              Name
                                          Watts                 Apparatus, and an associated method, for selectably and automatically redirecting a telephonic call
                                                                to a secondary location

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                                 Sep. 29, 2020
          6-20-cv-00893 (WDTX)

                    Number                Inventor              Name
                                          Tuulos                Method and system for providing prioritized failure announcements

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                                 Jun. 17, 2020
          6-20-cv-00533 (WDTX)

                    Number                Inventor              Name
                                          Pieda                 Methods and apparatus for selecting multiple paths taking into account shared risk

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                                 Jun. 17, 2020
          6-20-cv-00534 (WDTX)

                    Number                Inventor              Name
                                          Willhite              Network fabric access device with multiple system side interfaces

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                                 Jun. 17, 2020
          6-20-cv-00535 (WDTX)

                    Number                Inventor              Name
                                          Liu                   Methods and devices for creating an alternate path for a bi-directional LSP




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2/3/2021Case       1:20-cv-01228-CFC Document 27-1 Filed  02/03/21
                                                       Cases Search Page 131 of 131 PageID #: 1801
  Cases Search




          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                      Jun. 17, 2020
          6-20-cv-00536 (WDTX)

                   Number              Inventor           Name
                                       Gaspard            Method and apparatus for automatic discovery of network devices with data forwarding capabilities

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                      Jun. 17, 2020
          6-20-cv-00537 (WDTX)

                   Number              Inventor           Name
                                       Hirvonen           Method for managing radio resources and radio system

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                      Jun. 17, 2020
          6-20-cv-00538 (WDTX)

                   Number              Inventor           Name
                                       Sterne             Method and system for using a queuing device as a lossless stage in a network device in a
                                                          communications network

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                      Jun. 17, 2020
          6-20-cv-00539 (WDTX)

                   Number              Inventor           Name
                                       Grob-Lipski        Handover method and apparatus thereof

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                      Jun. 17, 2020
          6-20-cv-00540 (WDTX)

                   Number              Inventor           Name
                                       Ngo                Protection switching in WDM rings using a shared ring switch

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                      Jun. 17, 2020
          6-20-cv-00541 (WDTX)

                   Number              Inventor           Name
                                       Zou                Utilization of overhead channel quality metrics in a cellular network

          WSOU Investments LLC v. Huawei Technologies Co., Ltd. et al                                                      Jun. 17, 2020
          6-20-cv-00542 (WDTX)

                   Number              Inventor           Name
                                       Smith              Method and apparatus for regulating rogue behavior in optical network transmission devices

          WSOU Investments LLC v. Huawei Investment & Holding Co., Ltd. et al                                              Jun. 17, 2020
          6-20-cv-00543 (WDTX)

                   Number              Inventor           Name
                                       Cazzaniga          Method to implement a performance monitoring function on the ground of the retrieved data
                                                          through FEC (Forward Error Correction) in a telecom network

          WSOU Investments LLC v. Huawei Investment & Holding Co., Ltd. et al                                              Jun. 17, 2020
          6-20-cv-00544 (WDTX)

                   Number              Inventor           Name
                                       Wang               User speciﬁc load balancing




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